FILED
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Mary Angie Garcia
Bexar County District Clerk
Accepted By: Maria Jackson

                                                       2020CI19387
                                               NO. ___________________

             TEXAS ORGANIZING PROJECT; MOVE                   § IN THE DISTRICT COURT
             TEXAS CIVIC FUND; JENNIFER K.                    §
             FALCON                                           §
                                                              §
                                  Plaintiffs                  §
             v.                                               §
                                                              § OF BEXAR COUNTY, TEXAS
                                                              §
             JACQUE CALLANEN, in her official                 §
             capacity as the Bexar County Elections           §
             Administrator; JUDGE NELSON WOLFF,               §
             in his official capacity as Bexar County         §
             Judge;     COMMISSIONER          SERGIO          §
             RODRIGUEZ, in his official capacity as           §
             Bexar         County        Commissioner;        §
             COMMISSIONER JUSTIN RODRIGUEZ,                   §
             in his official capacity as Bexar County         § 45th
                                                                _____ JUDICIAL DISTRICT
             Commissioner; COMMISSIONER KEVIN                 §
             WOLFF, in his official capacity as Bexar         §
             County Commissioner; COMMISSIONER                §
             TOMMY CALVERT, in his official capacity          §
             as Bexar County Commissioner                     §
                                                              §
                                  Defendants                  §

                     PLAINTIFFS’ ORIGINAL VERIFIED PETITION AND APPLICATION FOR
                                       TEMPORARY INJUNCTION

                   Plaintiffs Texas Organizing Project (“TOP”), MOVE Texas Civic Fund (“MOVE”), and

            Jennifer K. Falcon hereby file this Original Petition and Application for Temporary Injunction. In

            support of same, Plaintiffs respectfully show the Court as follows.

                                                           I.
                                                      BACKGROUND

                   The November 3, 2020 general election is a mere 29 days away. This election is projected

            to set record turnout, which, coupled with an increase in the population of total registered voters,

            means Bexar County (occasionally, “the County”) must be prepared to handle more voters than it

            ever has before. Complicating matters, the global COVID-19 pandemic has meant drastic changes

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in how elections must be conducted – including limiting how many voters can safely congregate

inside a single polling place at the same time – and has created fear in the electorate as to the

potential dangers of voting in person.

       Now, when it is more important than ever to facilitate voters’ safe exercise of their

fundamental right to vote by minimizing lines at each polling place, the Bexar County Elections

Department has decided to close Election Day polling locations and operate fewer locations than

it did in 2012, 2014, 2016, or 2018. These closures are not merely ill-advised for the safety and

convenience of all voters, but they will also negatively impact voters of color and Spanish-

language voters, violating explicit provisions of the Texas Election Code, and will contravene the

legally required methodology for establishing polling places adopted by Bexar County

Commissioners Court in 2019. Unfortunately, this fits a pattern of legal violations spanning years,

in which Bexar County has operated hundreds of fewer polling locations than it was required to.

       In addition to closing Election Day polling locations, Defendant Jacque Callanen has

placed severe burdens on voter registration by illegally restricting the appointment process for

volunteer deputy registrars (“VDRs”), and intends to continue her practice of failing to post the

legally required notice of polling locations on the County’s website. Such notices are necessary to

allow voters and organizations to properly plan for Election Day.

       This Petition and Application seeks declaratory relief that Bexar County will imminently

violate Sections 4.003(b), 13.032(1), 13.048(c)(1), and 43.007(f) of the Texas Election Code by

refusing to provide proper notice of polling places; refusing to administer the volunteer deputy

registrar exam and refusing to appoint volunteer deputy registrars until applicants take and pass

the exam elsewhere; and failing to operate a legally sufficient number of polling places on Election

Day. It further seeks injunctive relief requiring the County to come into compliance with such



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provisions and, considering the County’s multi-year history of election-code violations, to confirm

preparedness with this Court in a timely manner.

                                          II.
                               DISCOVERY CONTROL PLAN

   1. Pursuant to Texas Rule of Civil Procedure 190.1, Plaintiffs intend to conduct discovery

under Discovery Level 3.

                                                III.
                                              PARTIES

   2. Plaintiff Texas Organizing Project (“TOP”) is a non-profit organization committed to

improving the participation of eligible voters across Texas in the democratic process through voter

registration, voter education, and voter participation activities. TOP has approximately 1,028

members in Bexar County, a majority of whom are registered voters, including registered voters

who live in areas directly affected by Bexar County’s polling place closures. Additionally, TOP

has 58,989 active supporters in Bexar County who volunteer and engage in the organization's

activities. TOP membership is composed predominantly of persons of color. As a result of the

closures, TOP members and supporters will be forced to travel further, stand in longer lines, and

be exposed to more in-person contact with election workers and other voters (which imposes a risk

during the current pandemic). TOP members in Bexar County additionally engage in get-out-the-

vote (“GOTV”) efforts, including phone banking, text messaging, and in-person canvassing. TOP

plans to attempt to engage over 300,000 voters during their 2020 GOTV efforts. This includes

informing individuals in advance of their nearest polling locations and helping individuals who

lack transportation overcome these barriers and make it to the polls to vote in person during early

voting and Election Day. These members’ efforts are made more difficult when individuals have

to travel further to get to each polling location and are confused because their traditional closest



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polling locations have been closed. TOP also strongly encourages individuals to become VDRs,

which is hindered by Defendant Callanen’s refusal to administer the VDR examination.

   3. Plaintiff MOVE Texas Civic Fund (“MOVE”) is a San Antonio-based project of the

Alliance for Youth Organizing, an Oregon nonprofit corporation exempt from taxation as a

charitable and educational organization under section 501(c)(3) of the Internal Revenue Code of

1986 as amended. MOVE empowers underrepresented youth communities to build a better

democracy through civic engagement, leadership development, and issue advocacy. Voter

registration is at the core of MOVE Texas’s activity. MOVE provides VDR training to individuals

in Bexar County. These trainings prepare individuals to take and pass the VDR examination and

become active VDRs. Many of MOVE’s VDR trainings take place on local college campuses—in

person prior to the COVID-19, and virtually for college communities since the pandemic. Since

June, 2020, MOVE has encouraged and trained approximately 200 individuals in Bexar County to

become VDRs. Many of the individuals whom MOVE trains are young and do not own personal

printers or have easy access to a printer. MOVE also engages in GOTV work, which includes

phone banking, text messaging, and connecting to campus communities to encourage them to vote.

MOVE is hindered in its GOTV work because Bexar County does not post public notice of its

Election Day locations on its website as required by law.

   4. Plaintiff Jennifer K. Falcon is a registered voter in Bexar County, Texas. Ms. Falcon has

previously been an active VDR in Bexar County, and has personally registered hundreds of

individuals to vote. She seeks to be recertified as a VDR but faces obstacles to doing so because

Defendants will not comply with the law requiring the County to administer the VDR examination.

Ms. Falcon does not have a home printer or easy access to a printer, and would need to spend time




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and money to print off a copy of the required examination at her own expense in order to be

recertified as a Bexar County VDR.

   5. Defendant Jacque Callanen is the Bexar County Elections Administrator and is sued in her

official capacity only. The Election Administrator is the official in charge of conducting election

operations in Bexar County. Among numerous other duties, she is tasked with appointing VDRs,

recommending Election Day polling locations to the Commissioners Court for approval, providing

lists of and training Election Day poll workers, and ensuring compliance with the requirements to

post notice of the list of Election Day polling locations. She may be served with process at 1103

S. Frio St., San Antonio, TX 78207.

   6. Defendant Judge Nelson Wolff is the Bexar County Judge and is sued in his official

capacity only. The County Judge is the presiding officer of the Bexar County Commissioners

Court. He may be served with process at 101 W. Nueva, 10th Floor, San Antonio, TX 78205.

   7. Defendant Commissioner Sergio Rodriguez is the Bexar County Commissioner for

Precinct 1 and is sued in his official capacity only. Commissioner Rodriguez is a voting member

of the Bexar County Commissioners Court, the governing body of Bexar County. He may be

served with process at 101 W. Nueva, 10th Floor, San Antonio, TX 78205.

   8. Defendant Commissioner Justin Rodriguez is the Bexar County Commissioner for Precinct

2 and is sued in his official capacity only. Commissioner Rodriguez is a voting member of the

Bexar County Commissioners Court, the governing body of Bexar County. He may be served with

process at 101 W. Nueva, 10th Floor, San Antonio, TX 78205.

   9. Defendant Commissioner Kevin Wolff is the Bexar County Commissioner for Precinct 3

and is sued in his official capacity only. Commissioner Wolff is a voting member of the Bexar




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County Commissioners Court, the governing body of Bexar County. He may be served with

process at 101 W. Nueva, 10th Floor, San Antonio, TX 78205.

   10. Defendant Commissioner Tommy Calvert is the Bexar County Commissioner for Precinct

4 and is sued in his official capacity only. Commissioner Calvert is a voting member of the Bexar

County Commissioners Court, the governing body of Bexar County. He may be served with

process at 101 W. Nueva, 10th Floor, San Antonio, TX 78205.

   11. Defendants County Judge and Commissioners created the position of Bexar County

Elections Administrator. Defendants County Judge and Commissioners further are responsible for

setting the number of the Election Administrator’s deputies and other staff; providing office space

and equipment to the Elections Administrator; providing operating expenses to the Elections

Administrator; designating Election Day polling locations based on recommendations provided by

the Elections Administrator; appointing election-day judges and alternate judges; and adopting the

legally required methodology for choosing election-day polling places. TEX ELEC. CODE §§

31.031, 31.039, 32.002(a), 43.002, 43.007.

   12. At all times relevant hereto, all Defendants were and have been acting under color of

statutes, ordinances, regulations, customs and usages of the State of Texas and Bexar County,

Texas.

                                          IV.
                                JURISDICTION AND VENUE

   13. Plaintiffs seek non-monetary declaratory and injunctive relief. This Court’s jurisdiction to

enter injunctive relief in this lawsuit is established by Texas Election Code Section 273.081 and

Texas Civil Practice and Remedies Code Section 65.001, et seq. This Court’s jurisdiction to enter

declaratory relief is established by Texas Civil Practice and Remedies Code Section 37.001, et seq.




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   14. Bexar County is the proper venue for this lawsuit because Defendants are Bexar County

residents and the actions of which Plaintiffs complain occurred and are occurring in Bexar County.

See TEX. CIV. PRAC. & REM. CODE § 15.002. The Court further has jurisdiction over Defendants

because the doctrine of governmental immunity is inapplicable to county officials sued in their

official capacity for ultra vires actions, and Plaintiff bring ultra vires claims against Defendants.

See Houston Belt & Terminal Ry. Co. v. City of Houston, 487 S.W.3d 154 (Tex. 2016).

                                                  V.
                                                FACTS

       A.      Legal Background

       i. Texas Election Code Section 43.007: The Countywide Polling Place Program

   15. Texas Election Code (“TEC”) Section 43.007 establishes and regulates the Countywide

Polling Place Program (“CWPPP”). CWPPP allows voters in participating counties to vote at any

polling place on Election Day rather than exclusively at the polling place assigned to their

respective election precincts.

   16. To participate in CWPPP, a county “must adopt a methodology for determining where each

polling place will be located.” TEX ELEC. CODE § 43.007(f). In adopting this methodology, the

county is required to “solicit input from organizations or persons located within the county who

represent minority voters.” Id. § 43.007(g).

   17. Further, Section 43.007(f)(1) establishes an objective minimum number of Election Day

polling locations that a county must operate. It states that “[t]he total number of countywide polling

places may not be less than . . . 50 percent of the number of precinct polling places that would

otherwise be located in the county for that election.” Thus, to figure out the minimum required

number of sites, one must first figure out how many sites would otherwise be located in the county

if it were not participating in the countywide program.

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       ii. The Legal Baseline for Establishing the Minimum Allowable Number of Vote Centers

   18. The starting point for determining how many polling places “would otherwise be located

in the county” is section 43.001 of the TEC, which mandates that “[e]ach election precinct

established for an election shall be served by a single polling place located within the boundary of

the precinct.”

   19. For general elections, there is only one exception to the requirement that each precinct have

its own polling place. Section 42.0051 allows that if “changes in county election precinct

boundaries to give effect to a redistricting plan result in county election precincts with a number

of registered voters less than [750], . . . a commissioners court for a general . . . election” may

combine those smaller precincts with larger neighboring precincts in order to avoid unreasonable

expenditures.

   20. Thus, the commissioners court is the only entity with the authority to combine precincts,

and precincts must be separately combined for each general election.

   21. Precincts cannot be combined in such a way that more than 5,000 active registered voters

are combined together. TEX ELEC. CODE § 42.0051(c).

   22. Additionally, Section 42.0051(d) prohibits combining a location if it:

           i. results in a dilution of voting strength of a group covered by the federal Voting
           Rights Act (42 U.S.C. Section 1973c et seq.);
           ii. results in a dilution of representation of a group covered by the Voting Rights
           Act in any political or electoral process or procedure; or
           iii. results in discouraging participation by a group covered by the Voting Rights
           Act in any political or electoral process or procedure because of the location of
           a polling place or other factors.

   23. The Voting Rights Act (“VRA”) protects historically disenfranchised racial groups as well

as certain language minority groups, including, in San Antonio, Spanish-language speakers. See

52 U.S.C. § 10301, 10303(f).



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   24. To determine the minimum number of polling locations a county can operate in the

countywide polling place program, one must figure out (a) how many election precincts are in the

county; (b) how many of those precincts have fewer than 750 registered voters; (c) whether the

county commissioners court has combined any precincts for the general election; and (d) whether

removing the polling place for any of those smaller precincts would result in discouraging a VRA-

protected group from participating in an electoral process or in combining more than 5,000 active

registered voters together.

       iii. Required Online Notice of Polling Locations

   25. TEC Section 4.003 requires that “not later than the 21st day before Election Day, a county

shall post a copy of a notice of the election given by the county . . . , which must include the

location of each polling place, on the county's Internet website, if the county maintains a website.”

       iv. Appointment of Volunteer Deputy Registrars

   26. VDRs are individuals who have undergone specific training to help eligible Texans register

to vote in Texas. Persons who are otherwise qualified voters are eligible to be appointed as VDRs.

TEX ELEC. CODE § 13.031. The county voter registrar appoints VDRs. Id.

   27. "A registrar may not refuse to appoint as a volunteer deputy registrar . . . a person eligible

for appointment." TEX ELEC. CODE § 13.032.

   28. A person desiring to serve as a volunteer deputy registrar can request appointment in person

or by mail. TEX ELEC. CODE § 13.033(a).

   29. Counties must offer Secretary of State-approved training to VDRs, and can require VDRs

to take an examination. TEX ELEC. CODE §§ 13.031(e), 13.047. The Secretary of State sets training

standards and requires counties to offer in-person training at least once a month, subject to one

exception. Id; Ex. A (Texas Secretary of State, Election Advisory No. 2018-31 (Sep. 27, 2018). If



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a County is not offering regular in-person training, it must instead accept the Secretary of State's

online training and "administer the required examination to a potential volunteer deputy registrar

at any time during the county voter registrar's regular business hours.” Id. § 13.048.

       B.      Defendants’ History of Election Code Violations

    30. Bexar County has a long history of violating the law when it comes to operating polling

places and other election administration issues.

    31. As shown below, based on its own publicly available government data, Bexar County

operated too few polling locations on Election Day during general elections between the years

2012 and 2018. Bexar County did not enter the countywide polling place program until 2019,

meaning that in general elections prior to 2019 it had to operate a polling place for every election

precinct with only the exception of combining certain precincts with a population of registered

voters under 750. Even setting aside considerations of how combining precincts might impact

VRA-protected groups, the County still plainly failed to operate enough locations by significant

margins.

    32. Bexar County records indicate that in 2012 it had 661 election precincts.1 Those same

records indicate that only 216 precincts had fewer than 750 registered voters. This means that,

notwithstanding any other consideration, Bexar County had to operate at least 445 Election Day

polling locations (661 minus 216). Instead, Bexar County reported to the Federal Election

Assistance Commission that it operated only 302 locations,2 falling at least 143 locations short of




1
  Bexar County Elections Department, November 6, 2012 Election Totals Report (accessed Sep.
29, 2020) https://www.bexar.org/DocumentCenter/View/7487/November-6-2012-Election-
Totals-Report.
2
  U.S. Election Assistance Commission, 2012 Election Administration & Voting Survey
(accessed Sep. 29, 2020) https://www.eac.gov/research-and-data/2012-election-administration-
voting-survey.
                                                   10
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the 445 locations (and potentially more if one were to account for the effects of combining

precincts on VRA-protected groups).

    33. Bexar County records indicate that in 2014 it had 712 election precincts.3 Those same

records indicate only 255 precincts had fewer than 750 registered voters. This means Bexar County

should have operated a minimum of 457 Election Day polling locations. Instead, Bexar County

reported to the Federal Election Assistance Commission that it operated only 306 locations,4

falling at least 151 locations short of the 457 locations.

    34. Bexar County records indicate that in 2016 it had 712 election precincts.5 Those same

records indicate only 244 precincts had fewer than 750 registered voters. This means that Bexar

County should have operated a minimum of 468 Election Day polling locations. Instead, Bexar

County reported to the Federal Election Assistance Commission that it operated 303 Election Day

locations,6 falling at least 165 locations short of the 468 locations.

    35. Bexar County records indicate that in 2018 it had 726 election precincts.7 Those same

records indicate only 228 precincts had fewer than 750 registered voters.8 This means that Bexar




3
  Bexar County Elections Department, November 4, 2014 Election Totals Report (accessed Sep.
29, 2020) https://www.bexar.org/DocumentCenter/View/7456/November-4-2014-Election-
Totals-Report.
4
   U.S. Election Assistance Commission, 2014 Election Administration & Voting Survey
(accessed Sep. 29, 2020) https://www.eac.gov/research-and-data/2014-election-administration-
voting-survey.
5
  Bexar County Elections Department, November 8, 2016 Election Totals Report (accessed Sep.
29, 2020) https://www.bexar.org/DocumentCenter/View/9441/November-8-2016-Election-
Totals-Report.
6
  U.S. Election Assistance Commission, 2016 Election Administration & Voting Survey
(accessed Sep. 29, 2020) https://www.eac.gov/research-and-data/2016-election-administration-
voting-survey.
7
  Bexar County Elections Department, November 6, 2018 Election Totals Report (accessed Sep.
29, 2020) https://www.bexar.org/DocumentCenter/View/19193/November-6-2018-Election-
Totals.
8
  Id.
                                                  11
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County should have operated 498 locations. Instead, Bexar County operated only 302 locations,9

falling at least 196 locations short of the 498 locations.

    36. Further, in 2016, Bexar County was successfully sued by Southwest Voter Registration

Education Project, represented by the Mexican American Legal Defense and Education Fund, for

imposing illegal and overly restrictive guidelines on identification requirements for voting in

person despite federal court rulings overturning such requirements.10

    37. In the March 3, 2020 primary, Bexar County violated TEC Section 41.031 by failing to

open multiple locations on time and thus failing to operate all locations for the requisite 12 hours

of voting.11

    38. In the July 14, 2020 primary runoff election, Bexar County violated Section 4.003 of the

Election Code by failing to post an election notice on its website that “include[d] the location of

each polling place” 21 days prior to Election Day. The notice that it did post merely directed the

public to check back on July 12 – a mere two days before the election. See Ex. C (Notice of July

14, 2020 primary runoff election). This Notice was both practically and legally deficient.

    39. During the July 14, 2020 runoff election, Bexar County failed to operate 12 Election Day

polling locations because it had not recruited enough backup poll workers to compensate for those

who dropped out due to concerns over COVID-19 – despite having been warned of this possibility




9
  See Ex. B, Bexar County 2018 List of Election Day Locations (downloaded from Bexar County
Elections Website on Oct. 24, 2018).
10
   Temporary Restraining Order, Southwest Voter Registration Education Project v. Callanen,
No. 2016-Cl-18915 (Oct. 28, 2016) https://www.maldef.org/wp-
content/uploads/2018/08/Proposed_TRO_FINAL_Signed.pdf.
11
   Sanford Nowlin, Despite Glitches at Some Polling Places, 42,000 Bexar Residents Have Cast
Ballots So Far, SACurrent.com (accessed Sep. 29,2020) https://www.sacurrent.com/the-
daily/archives/2020/03/03/despite-glitches-at-some-polling-places-42000-bexar-residents-have-
cast-ballots-so-far.
                                                  12
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ahead of time.12 Bexar County announced 3 of these closures a mere 24 hours before the election,13

violating the requirement to provide notice of changes no later than 72 hours before Election Day.

TEX. ELEC. CODE § 43.061(b). Further, because the County never posted proper notice of the

locations in the first place, it was also not able to comply with the requirements for posting notice

of changes for the other 9 originally planned locations.

        C.   Defendant Callanen’s Refusal To Appoint VDRs or Administer VDR
        Examinations

     40. On or about September 23, 2020, the Bexar County Elections Department placed a sign in

a conspicuous location in its office stating that it would not appoint any VDRs for the remainder

of the year 2020. Ex. D (Picture of Bexar County Elections Sign). This sign was discovered by a

MOVE-trained VDR applicant who went to the county elections department after having been

trained by MOVE in order to take the VDR examination and become a VDR. This eligible VDR

applicant was refused appointment by the Bexar County Elections Department.

     41. On September 24, 2020, Plaintiff MOVE informed Defendants that their policy violated

the Texas Election Code.

     42. Later that same day, the Bexar County Elections Department removed the sign and

replaced it with a new sign saying it will only appoint registrars who bring with them a printed and

completed copy of the online VDR examination which the Texas Secretary of State makes

available. Ex. E (Picture of Replacement Bexar County Elections Sign).

     43. MOVE has had to modify its training to instruct individuals that they must print off a copy




12
    See Testimony of Joaquin Gonzalez at Agenda Item 39, minute 7:30 (Jun. 16, 2020), available
at https://bexarcountytx.swagit.com/play/06162020-596.
13
   Jakob Rodriguez, Three Bexar County Voting Centers Close Prior to July 14 Primary Runoff
Election, KSAT.com (Jul. 13, 2020) https://www.ksat.com/news/local/2020/07/14/three-bexar-
county-voting-centers-close-prior-to-july-14-primary-runoff-election.
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of the Secretary of State’s online examination at their own expense.

    44. Individuals, in particular students, at MOVE VDR trainings have asked whether MOVE or

another entity can mail them a copy of the VDR examination because they do not have access to

a printer.

    45. MOVE employees have spoken with VDR applicants who would have shown up at the

Bexar County Elections Department unaware of the requirement to bring their own copy of the

online examination. These individuals would have been refused appointment and been forced to

drive home, print a copy of the examination, and come back to the county office in order to exercise

their legal right to be appointed as VDRs.

    46. On October 1, 2020, Plaintiff Falcon called Bexar County Elections and inquired how she

could be appointed as a VDR. The Bexar County Elections employee she spoke with told her that

she needed to print out and complete her own copy of the online VDR examination provided by

the Secretary of State and bring it with her into the office. Plaintiff Falcon informed the employee

that she did not have a printer and could not print off the examination to bring in. The employee

informed her that this was the only option and that they would not administer the examination in

person or even provide a copy of the examination.

        D.     D. Defendants’ Adoption of Countywide Polling Place Program in 2019

    47. As described below, in 2019, prior to the November Constitutional Amendments Election,

Bexar County decided to enroll in the CWPPP.

    48. Public commentary during the transition to the CWPPP expressed major concerns about

the Election Department’s proposal to close polling locations as part of the move to countywide

polling. See, e.g., Ex. F (County Commissioner Justin Rodriguez, Press Release (Jul. 25, 2018)).

    49. As a result of this input, the County Commissioners expressed support for moving to a



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countywide model only if the number of polling locations would be maintained. See id.

        50. The Bexar County Commissioners Court held a legally required public hearing on August

6, 2019 in order to enter CWPPP. Ex. G (Bexar County Commissioners Agenda for August 6,

2019).

        51. The agenda item for authorizing the program was coupled with an item to procure

additional voting equipment to maintain the number of Election Day locations. Id.

        52. A diverse and bipartisan group of individuals testified at the hearing expressing overall

support of the program but only if the County committed to not shuttering polling locations.

Testimony and written statements to this effect were provided by a diverse array of organizations,

including the Mexican American Legal Defense and Education Fund, the League of Women

Voters of San Antonio, Texas Organizing Project, San Antonio NAACP, MOVE Texas, and the

Bexar County Republican Party.14

        53. As a result of this overwhelming demand to maintain the number of polling locations,

Commissioners Court appropriated money for purchasing additional voting equipment.

           E.      Defendants’ Election Day Plans for the November 3, 2020 General Election

        54. On August 14, 2020 Defendant Callanen introduced a proposed list to the Commissioners

Court that contained 273 Election Day polling locations for the 2020 General Election – 29

locations short of what it operated in 2018. The Commissioners Court did not take action on that

list.

        55. On that same day, the Commissioners Court unanimously passed the S.M.A.R.T. Elections

initiative, which included a resolution by the Commissioners Court “to mitigate the threat to public




14
  Testimony in Front of Bexar County Commissioners Court at Agenda Item 2, minutes 13:45-
36:20 (Aug. 6, 2019) available at https://bexarcountytx.swagit.com/play/08062019-2102.
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health, maximize voter access, and support citizens in exercising their democratic right in a safe

manner during the COVID 19 pandemic.” Ex. H (S.M.A.R.T. Elections Resolution). It

acknowledged that “Bexar County Elections has received $1,740,599 in federal funds appropriated

from the Help America Vote Act and $4,400,000 in federal Coronavirus Relief Funds appropriated

by Commissioners Court to support the administration of elections during the global pandemic,”

and resolved to not “consolidat[e] or remov[e] other Early Voting or Election Day locations.” Id.

The Commissioners Court further expressed that they would support Defendant Callanen with

whatever resources are necessary to expand access and successfully administer the 2020 General

Election.15

     56. Bexar County was additionally awarded a $1.9 million grant for election support from the

Center for Tech and Civic Life.16

     57. On September 10, 2020, the Texas Civil Rights Project sent a letter to Defendants

informing them that they were at risk of violating the Election Code based on the proposed number

of Election Day polling locations, and pointing out Defendant Callanen’s failure to comply with

the TEC’s notice requirements during the July 14, 2020 election. See Ex. I (Sep. 10 Letter from

Texas Civil Rights Project).

     58. On September 15, 2020, Defendant Callanen appeared before Commissioners Court

seeking approval for a list that contained 282 Election Day polling locations – 20 locations short

of what it operated in 2018.



15
   See, Scott Huddleston, Bexar Elections Chief Gets Virtual Blank Check To Expand Access,
Ensure Voting Safety in November Elections, ExpressNews.com (Aug. 14, 2020)
https://www.expressnews.com/news/local/article/Bexar-County-considers-numerous-ways-to-
increase-15484744.php.
16
   Sanford Nowlin, Bexar County Wins $1.9 Million Grant to Help with Safe November Election,
SACurrent.com (Sep. 29, 2020) https://www.sacurrent.com/the-daily/archives/2020/09/29/bexar-
county-wins-19-million-grant-to-help-with-safe-november-election.
                                               16
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     59. Commissioner Justin Rodriguez questioned Defendant Callanen over the proposed list of

locations, asking whether action on the list was necessary on that day or could be postponed for

further consideration. Defendant Callanen misrepresented to the Commissioners Court that there

was a requirement in the Texas Administrative Code to provide a list of early voting and Election

Day locations by the close of business day on September 15.17 No such requirement, or any similar

requirement, exists in statute or the Administrative Code.

     60. On September 15, 2020, the Commissioners Court approved Defendant Callanen’s list

subject to the addition of three locations corresponding to three additional early voting locations

that were approved. The list was attached as an exhibit to an amended Order for the election. There

was no agenda item or order explicitly combining precincts that contain under 750 registered

voters with other precincts.

     61. On September 18, 2020, Defendant Callanen responded to the Texas Civil Rights Project

indicating that she would continue to not comply with the TEC’s notice requirements or increase

the number of Election Day polling locations. See Ex. J (Sep. 18 Response from Def. Callanen to

Texas Civil Rights Project). The letter further stated that the County would be operating 284

Election Day locations. The letter also stated that on September 18, 2020, Bexar County had 734

election precincts, 510 of which contained 750 or more registered voters.

     62. Defendant Callanen confirmed that she was basing her calculation for the TEC’s minimum

requirements for election-day locations on the County’s theoretical ability to combine every

precinct containing fewer than 750 registered voters without regard to the impact of combining

those precincts on VRA-protected groups and without having to actually combine those precincts




17
  Testimony in Front of Bexar County Commissioners Court at Agenda Item 57, 24:26-25:15
(Sep. 15, 2020) available at https://bexarcountytx.swagit.com/play/09152020-753.
                                                17
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by Order of Commissioners Court or follow the other legal requirements for combining precincts,

such as not combining precincts in such a way as to have over 5,000 active registered voters

combined together.

       F.        Effect of Proposed Polling Place on Groups Protected by the Voting Rights Act

   63. Studies indicate that voter turnout is negatively impacted by increasing the time and

distance it takes to get to a polling place. See The Voting Rights Lab, Polling Place Consolidation:

Negative Impacts on Turnout and Equity (Jul. 2020) (“Changing polling locations can lower

turnout due to both transportation costs – distance, time, and the cost of finding and using

transportation to polling places, and search costs – the cost of learning about and finding new

polling locations.”) (citing Jennifer Wolak, Feelings of Political Efficacy in the Fifty States,

Political Behavior 40, no. 3 (2018): 763-784).

   64. Two studies from North Carolina estimated that polling place changes reduced turnout

between 0.7 and 2 percentage points. Jesse Yoder, How Polling Place Changes Reduce Turnout:

Evidence from Administrative Data in North Carolina.” Working Paper, accessed on July 9, 2020,

available   at   https://www.dropbox.com/s/pk219n6bam4584d/pollingplaces.pdf?dl=1;             Joshua

D.Clinton et al., Polling Place Changes and Political Participation: Evidence from North

Carolina Presidential Elections, 2008-2016 (2019).

   65. Studies indicate that, in particular, voters of color are sensitive to increased distances. This

is unsurprising, as these populations in Texas continue to experience negative disparities across a

wide range of socio-economic measures. See, e.g., Veasey v. Abbott, 830 F.3d 216, 261 (5th Cir.

2016) (“the record contains evidence that minority voters generally turn out in lower numbers than

non-minority voters and that State-sponsored discrimination created socioeconomic disparities,

which hinder minority voters' general participation in the political process.”).



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   66. A 2014 Florida study estimated that closures on Election Day reduced turnout among

African American and Latinx voters by 3 and 7 percentage points respectively. Brian Amos, Daniel

A. Smith, & Casey Ste. Claire, Reprecincting and Voting Behavior, 1 Political Behavior 39 133–

56 (Mar. 2017).

   67. A 2011 analysis of Los Angeles County’s reduction of polling places found that for each

tenth of a mile added in distance to vote, turnout declined by 0.5 percentage points. Henry E Brady

& John E. McNulty, Turning Out to Vote: The Costs of Finding and Getting to the Polling Place,

1 The American Political Science Review 105, 115–34 (2011).

   68. A 2020 study found that during the 2012 Presidential general election, each additional

quarter mile to the polls reduced turnout rates by approximately 2 to 5 percentage points. Enrico

Cantoni, A precinct too far: Turnout and voting costs, 12(1) American Economic Journal: Applied

Economics 61 (2020).

   69. There is also reason to believe that Bexar County’s historic violation of the election code

as detailed in Paragraphs 31-35 supra has discouraged tens of thousands of voters over recent

elections: Between 2014 and 2018, Dallas and Harris Counties operated hundreds of more Election

Day locations than Bexar. Each offered roughly twice as many locations per registered voter and

per square mile as Bexar County. Comparison of Election Day turnout in the 2014, 2016, and 2018

general elections reveals that, on average, 3.87% more of Dallas County’s registered voters turned

out on Election Days than Bexar County’s. Comparison of Election Day turnout in the 2014, 2016,

and 2018 general elections reveals that, on average, 3.43% more of Harris County’s registered

voters turned out on Election Days than Bexar County’s. 3% of Bexar County’s registered voters

would equate to 34,385 additional election-day votes.




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   70. Bexar County’s plans to reduce polling locations is premised on its ability to combine each

and every precinct that contains fewer than 750 registered voters. The County has not analyzed at

all what impact these combinations would have on VRA-protected groups. It therefore has not

established that it would in fact theoretically be able to combine all of these precincts.

   71. Using models based on Census data, 120 of the precincts with fewer than 750 registered

voters have majority-minority populations.

   72. An analysis of data from the 2018 general election demonstrates that combining polling

locations demonstrably increased the burden on voters of color and Spanish-language voters, in

particular on those voters who live in precincts with fewer than 750 registered voters. Ex. K (Bexar

County Distances to Polling Place Analysis). Analysis indicates that African American voters in

precincts with fewer than 750 registered voters had to travel 25.54% further to get to a polling

location than the average voter in the county. Id. The same analysis indicates that Hispanic voters

in precincts with fewer than 750 registered voters had to travel 26.12% further to get to a polling

location than the average voter in the county. Id.

   73. Analysis of voter data from 2020 also demonstrates that the additional closure of polling

locations in 2020 will negatively impact African American and Hispanic voters. Id. It indicates

that the average African American voter in a precinct with less than 750 registered voters will have

to travel 40.98% further than the average voter in 2018 did, and 23.73% further than the average

voter in 2020. Id. The average Hispanic voter in a precinct with less than 750 registered voters will

have to travel 38.51% further than the average voter in 2018 did, and 21.55% further than the

average voter in 2020. Id.




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   74. During its GOTV efforts, MOVE has encountered individuals who have expressed that

they are unlikely to go vote because they cannot make it to a polling place due to lack of

transportation. MOVE works primarily with populations that are majority persons of color.

   75. TOP’s membership is majority persons of color, and they are harmed by increased travel

distances to the polls and longer lines at the polls due to consolidated locations. TOP members

help individuals who lack transportation get to the polls in order to vote. These efforts are made

more difficult when polling places are closed or are made more distant from the voters. Closure of

historic polling places also increases information costs for voters and TOP members seeking to

vote on Election Day.

   76. Taken altogether, the data indicates that combining precincts with majority VRA-protected

populations will discourage those groups’ participation in the general election.

       G.      Defendant Callanen’s Refusal To Comply with Legal Notice Requirements.

   77. Defendant Callanen has stated in writing that she does not intend to post a list of Election

Day polling locations on the County’s website until after the early voting period has ended, rather

than by the legally required October 13 deadline. Ex. J (Sep. 18 Response from Def. Callanen to

Texas Civil Rights Project).

   78. Defendant Callanen’s refusal to comply with state notice laws hinders Plaintiff MOVE’s

GOTV efforts and injures its employees and volunteers by forcing them to divert their resources

to compensate for the lack of a publicly available final list of locations. MOVE manually compiles

lists of county early voting and election-day polling locations, including Bexar County, in order to

be able to tell voters their nearest location and help those voters make a plan for voting. Because

Bexar County does not provide a list of election-day locations online, MOVE is unable to provide

information on these locations to voters until right before Election Day. When individuals ask



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about their nearest Election Day location, MOVE employees and volunteers are forced to tell them

that they will have to call them back with the information. MOVE may not be successful in

reaching the individuals again to give them the requested information.

   79. Plaintiff TOP operates a phone banking, text messaging, and canvassing campaign that

relies on access to the list of polling locations throughout the County during early voting and

Election Day, communicating with hundreds of thousands of voters. In order to encourage people

to vote, TOP works to ease the process as much as possible—one method is by informing voters

of their nearest polling location. However, if TOP does not have a final list of polling locations to

refer to, they are unable to help voters find the polling location most convenient and accessible to

them. TOP members who themselves seek to vote on Election Day are also injured by Defendants’

failure to post Election Day locations online.

                                              VI.
                                       CAUSES OF ACTION

       A.      Defendants’ Actions Violate Section 13.032 of the Texas Election Code

   80. Defendant’s brazen refusal to comply with their duty to provide examinations to VDRs is

in direct violation of the VDR examination provisions of the TEC. Section 13.048(a) allows

counties to “adopt a method of appointment for volunteer deputy registrars prescribed by the

secretary of state.” Once the county adopts the Secretary of State’s prescribed method, it must,

under Section 13.048(c)(1), “administer the [Secretary of State’s] required examination to a

potential volunteer deputy registrar at any time during the county voter registrar's regular business

hours.” By adopting the Secretary of State’s prescribed method of appointment, Bexar County is

required to administer examinations for VDRs. Bexar County’s refusal to do so is a clear violation

of the TEC.

   81. Bexar County’s refusal to administer these examinations for prospective VDRs, without

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notice to VDRs who presume the County is following state law, also violates the VDR appointment

provisions of the TEC. The TEC states that “[a] registrar may not refuse to appoint as a volunteer

deputy registrar . . . a person eligible for appointment under Section 13.031(d).” TEX. ELEC. CODE

§ 13.032(1). Section 13.031(d) of the TEC lists the following eligibility requirements for VDRs:

               1. be 18 years of age or older;
               2. not have been finally convicted of a felony or, if so convicted, must
                  have:
                       i. fully discharged the person's sentence, including any term of
                          incarceration, parole, or supervision, or completed a period of
                          probation ordered by any court; or
                      ii. pardoned or otherwise released from the resulting disability to
                          vote;
               3. meet the requirements to be a qualified voter under Section 11.002
                  except that the person is not required to be a registered voter; and
               4. not have been finally convicted of an offense under Section 32.51, Penal
                  Code.

   82. As shown in the verified facts in this Petition, Plaintiffs TOP and MOVE currently have

and consistently will secure volunteers and fellows who are eligible to become VDRs under

Section 13.031(d) to register voters. As shown in the verified facts, Plaintiff Falcon and the

volunteers and fellows of Plaintiffs TOP and MOVE, who wish to volunteer their time and energy

to the noble cause of registering voters in their respective communities and who are also eligible

to become VDRs under Section 13.031(d), are additionally being denied their right to be appointed

as a VDR under Section 13.032(1) by being refused an examination pursuant to Section

13.048(c)(1) of the TEC and turned away until they take the examination elsewhere. As a result,

because all Plaintiffs continue to suffer harm from Defendants’ violation of Sections 13.032(1)

and 13.048(c)(1) and are in danger of continued harm due to Defendants’ threats to violate Section

13.032(1) and 13.048(c)(1), Plaintiffs are “entitled to appropriate injunctive relief to prevent the

violation from continuing or occurring” pursuant to Section 273.081 of the Texas Election Code.

       B.      Defendants’ Actions Violate Section 43.007(f)(1) of the Texas Election Code

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       Because They Are Premised on Combining Every Precinct with Under 750
       Registered Voters Despite the Commissioners Court Having Not Legally Combined
       Those Precincts

   83. The plain language of the TEC makes clear that only the Commissioners Court can

combine precincts, and that it must actually combine those precincts for each individual election.

TEX. ELEC. CODE § 42.0051. The Bexar County Commissioners Court has not ordered the

combination of precincts for the 2020 General Election. Insofar as it approved a list of Election

Day locations proposed by Defendant Callanen, this did not constitute a lawful combination of

precincts because, inter alia, it combined more than 5,000 registered voters together in

contravention of TEC 42.0051(c). Defendant Callanen has made it clear that she does not believe

that it is necessary for the Commissioners Court to formally combine precincts, and that any

theoretical combinations do not need to adhere to the other legal requirements for combining

precincts – for example, that the precincts cannot be combined if the total population being

combined totals more than 5,000 active registered voters. See Ex. J (Sep. 18 Response from Def.

Callanen to Texas Civil Rights Project).

       C.    Defendants’ Actions Violate Section 43.007(f)(1) of the Texas Election Code
       Because They Are Premised on a Theoretical Ability To Combine Precincts in a
       Way That Discourages Participation by VRA-protected Groups

   84. Defendant Callanen’s proposed 284 election-day locations is premised on being able to

combine every precinct that contains fewer than 750 registered voters. However, combining all of

these precincts demonstrably has discouraged and will continue to discourage VRA-protected

groups from participating in the election on Election Day. This contravenes the plain language of

TEC Section 42.0051, which states that an election precinct cannot be combined if it “results in

discouraging participation by a group covered by the Voting Rights Act in any political or electoral

process or procedure because of the location of a polling place or other factors.”



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   85. Defendant Callanen has previously failed to post the list of Election Day polling locations

on the County’s website until two days before Election Day and has indicated in writing that she

intends to continue this practice. This violates the plain language of Section 4.003 of the TEC,

which states: “not later than the 21st day before Election Day, a county shall post a copy of a notice

of the election given by the county . . . , which must include the location of each polling place, on

the county's Internet website, if the county maintains a website.”

                      VIII. APPLICATION FOR TEMPORARY INJUNCTION

       Plaintiffs re-allege and incorporate by reference the allegations contained in all of the

preceding paragraphs and for the reasons discussed below are entitled to injunctive relief both

under TEC section 273.081 and at common law.

       A.      Plaintiffs Are Entitled to Injunctive Relief Because They Have Shown a
Violation of a Statute That Authorizes Injunctive Relief.

       Plaintiffs seek relief pursuant to TEC section 273.081 because they are “being harmed or

[are] in danger of being harmed by a violation or threatened violation of [the Election Code].” Tex.

Elec. Code § 273.081. The same provision authorizes “appropriate injunctive relief to prevent

[those] violation[s of the Election Code] from continuing or occurring.” Id. As numerous courts

addressing section 237.081 have held, this “express language supersedes the common law

injunctive relief elements such as imminent harm or irreparable injury and lack of an adequate

remedy at law.” E.g., Cook v. Tom Brown Ministries, 385 S.W.3d 592, 599 (Tex. App.—El Paso

2012, pet. denied); Hughs v. Dikeman, --- S.W.3d ---, 2020 WL 5361658, at *13 (Tex. App.—

Houston [14th Dist.] Sept. 8, 2020, no pet. h.) (applicant for injunctive relief pursuant to Election

Code § 273.081 “need not prove these common law elements.”). Plaintiffs are therefore entitled to

injunctive relief because they have “shown a violation of a statute that authorizes injunctive relief.”

Id. (quoting 8100 N. Freeway Ltd. v. City of Houston, 329 S.W.3d 858, 861 (Tex. App.—Houston

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[14th Dist.] 2010, no pet.)).

       B.      Plaintiffs Are Additionally Entitled to Injunctive Relief at Common Law.

       Even in the absence of an express statutory authorization, Plaintiffs would be entitled to

injunctive relief. At common law, “a temporary injunction should only issue if the applicant

establishes (1) a cause of action against the defendant; (2) a probable right to the relief sought; and

(3) a probable, imminent, and irreparable injury in the interim if the injunction is not granted.”

Camp Mystic, Inc. v. Eastland, 399 S.W.3d 266, 273 (Tex. App.—San Antonio 2012, no pet.)

(citing Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002)). Further, “[b]ecause an

injunction is an equitable remedy” the court should “weigh[] the respective conveniences and

hardships of the parties and balance[] the equities,” which “involves weighing the public interest

against the injury to the parties from the grant or denial of injunctive relief.” Int’l Paper Co. v.

Harris Cty., 445 S.W.3d 379, 395 (Tex. App.—Houston [1st Dist.] 2013, no pet.).

       Plaintiffs satisfy each of the three elements for temporary injunctive relief at common law

and a balancing of the equities weighs in favor of that relief.

       i.      Plaintiffs have established their causes of action.

       Plaintiffs have established their causes of action under TEC section 273.081 for all the

reasons set out earlier in this petition. Andrade v. NAACP of Austin, 345 S.W.3d 1, 17 (Tex. 2011)

(Election Code § 237.081 sets out a private cause of action); Walling v. Metcalfe, 863 S.W.2d 56,

57 (Tex. 1993) (element satisfied where applicant had pled a cause of action).

       ii.     Plaintiffs have established a probable right to the relief sought.

       “Probable right to relief” is a term of art in the injunction context.” Regal Entm’t Group v.

iPic-Gold Class Entm’t, LLC, 507 S.W.3d 337, 345–46 (Tex. App.—Houston [1st Dist.] 2016, no

pet.) (citations omitted). An applicant satisfies this element when they “plead a cause of action and



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present some evidence that tends to sustain it, meaning that the evidence must be sufficient to raise

a bona fide issue as to [their] right to ultimate relief.” Id. (cleaned up); see DeSantis v. Wackenhut

Corp., 793 S.W.2d 670, 686 (Tex. 1990) (an applicant “need not establish the correctness of his

claim to obtain temporary relief, but must show only a likelihood of success on the merits.”).

        Plaintiffs have provided evidence sufficient to demonstrate a probable right to relief as to

(1) their notice claim; (2) their VDR exam claim; and (3) their polling closure claims, all of which

are predicated on Defendant Callanen’s intended violation of straightforward and unambiguous

TEC provisions.

       First, Plaintiffs have provided evidence that even after being put on notice, Defendant

Callanen has expressed that before the November 2020 election she intends to willfully violate the

straightforward provisions of the TEC governing when a county must post notice of the polling

places it intends to use. See TEX. ELEC. CODE 4.003; ¶¶ 38, 77 supra. Plaintiffs therefore have a

probable right to relief on their notice claim.

       Second, Plaintiffs have provided evidence that Bexar County has adopted “a method of

appointment” for VDRs prescribed by the Texas Secretary of State and is therefore unambiguously

required by the TEC to administer the VDR exam to potential VDRs. TEX. ELEC. CODE § 13.048.

And again, despite being put on notice, Defendant Callanen intends to willfully violate this

straightforward provision of TEC by refusing to administer the VDR exam and requiring that

potential VDRs complete it elsewhere. ¶¶ 40-46 supra. Plaintiffs therefore have a probable right

to relief on their VDR exam claim.

       Third and finally, Plaintiffs have provided evidence that Bexar County has premised its list

of locations on a theoretical ability to combine every precinct that has fewer than 750 registered

voters with other larger precincts. It has taken this latter step despite evidence that doing so



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discourages participation by VRA-protected groups, ¶¶ 63-73 supra, and despite the fact that only

the Bexar County Commissioners Court has the authority to combine precincts. The

Commissioners Court has not ordered these combinations, and has certainly not ordered them in a

way that only combines fewer than 5,000 active registered voters together. These violations are

consistent with Bexar County’s failure to operate the legally required number of Election Day

polling locations over numerous election cycles, which has already burdened countless past voters.

Because this evidence “tends to sustain” Plaintiffs’ polling closure claims, which are based on

objectively ascertainable criteria and unambiguous provisions of the TEC, Plaintiffs have

established a probable right to relief on those claims.

       iii.    Plaintiffs have established a probable, imminent, and irreparable injury in the
interim if an injunction is not granted.

       Bexar County has made its intent to violate the TEC clear. Its failure to post a list of polling

places and to provide the required number of polling places in compliance with the TEC will injure

Plaintiffs by burdening Plaintiff Falcon’s and Plaintiff TOP’s and MOVE’s (“Organizational

Plaintiffs”) members’ constitutional and statutory rights, and by frustrating Organizational

Plaintiffs’ missions to get out the vote by making it more difficult for them to provide accurate

information to the communities they serve. The delay or denial of the appointment of VDRs

similarly burdens those Plaintiff Falcon’s and Organizational Plaintiffs’ members’ right to

associate for political purposes, and will also injure Plaintiff MOVE by making it more difficult

for its employees and volunteers to become VDRs, thus dampening its efforts to get out the vote

by registering as many new voters as possible. These injuries are both imminent and probable

absent remedial relief because the November 2020 election is fast approaching and because Bexar

County has made it clear it will not comply with the TEC of its own volition.

       These injuries are also irreparable. “An injury is irreparable if the injured party cannot be

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adequately compensated in damages or if the damages cannot be measured by any certain

pecuniary standard.” Butnaru, 84 S.W.3d at 204. Only injunctive and declaratory relief are

available to Plaintiffs at law, therefore, their injuries are necessarily non-compensable.

       Infringements on constitutional rights, such as the right to vote and the right to associate,

are quintessentially non-compensable. See, e.g., Opulent Life Church v. City of Holly Springs, 697

F.3d 279, 295 (5th Cir. 2012) (“When an alleged deprivation of a constitutional right is involved,

most courts hold that no further showing of irreparable injury is necessary.”). This is true even if

the burden makes it harder to vote but does not ultimately cause disenfranchisement. Obama for

Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (issuing preliminary injunction against reduction

in early voting days for certain voters); see also League of Women Voters of N. Carolina v. North

Carolina, 769 F.3d 224, 247 (4th Cir. 2014) (“Courts routinely deem restrictions on fundamental

voting rights irreparable injury” and upholding preliminary injunction of several state law

practices); Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986) (issuing preliminary injunction

against rejecting student voter registration forms, even though most could presumably register at

their parents’ home address).

       Similarly, Organizational Plaintiffs’ injuries are irreparable. Organizational Plaintiffs are

non-profit entities with voter education and engagement efforts that specifically include educating

voters about where they can vote and encouraging them to do so. There is no way to compensate

Organizational Plaintiffs for the frustration of their mission posed by the additional time they must

spend working to encourage voters who have lost their familiar polling places to shoulder the extra

effort to vote, or for them and others to seek appointment as VDRs. Cf. SBI Investments, LLC v.

Quantum Materials Corp., 2018 WL 1191854, at *6 (Tex. App.—Austin Mar. 8, 2018) (quoting

Occidental Chem. Corp. v. ETC NGL Transp., LLC, 425 S.W.3d 354, 364 (Tex. App.–Houston



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[1st Dist.] 2011, pet. dism’d) (“Texas courts have recognized that ‘business disruptions’ may result

in irreparable harm for which a temporary injunction is appropriate.”); see also League of Women

Voters of United States v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016) (where challenged electoral

practices “unquestionably” made it “more difficult” for plaintiff organizations “to accomplish their

primary mission of registering voters” they had been injured “for purposes both of standing and

irreparable harm”).

        Members of Plaintiff TOP will never be able to be compensated for the additional burden

they bear from having to travel further to vote on Election Day, or the additional time that they

must spend persuading voters to vote at more distant locations, helping them travel to more distant

locations, and remedying the confusion caused by closed neighborhood polling locations.

        iv.     A balancing of the equities favors Plaintiffs.

        As discussed above, Plaintiffs’ imminent injuries are severe. Weighed against this are the

negligible costs to Bexar County should injunctive relief be granted: the cost to post a timely notice

of election; the cost to administer a short VDR examination during normal business hours; and the

cost to operate an additional approximately 27 polling locations for which the Bexar County

Commissioners Court has already made available funding to operate.

        Additionally, it cannot be overstated that these costs are required by Texas law. Injunctive

relief, even if it imposes such minor costs, is therefore in the public interest because “[i]t is beyond

dispute that [an] injunction serves the public interest [when] it forces the correct and constitutional

application of Texas’s duly-enacted election laws.” Texas Democratic Party v. Benkiser, 459 F.3d

582, 595 (5th Cir. 2006). Moreover, it is universally agreed that the public has a “strong interest

in exercising the fundamental political right to vote.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006).

Thus, “by definition, the public interest favors permitting as many qualified voters to vote as



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possible.” League of Women Voters of N. Carolina v. North Carolina, 769 F.3d 224, 247–48 (4th

Cir. 2014) (cleaned up); accord Jones v. Governor of Florida, 950 F.3d 795, 831 (11th Cir. 2020);

League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016); Obama for

Am. v. Husted, 697 F.3d 423, 437 (6th Cir. 2012). Finally, Bexar County Commissioners Court

has already made available sufficient funds to operate the additional locations. ¶¶ 51-53, 55 supra.

For these reasons, permitting continued violations of the TEC that also burden the right to vote is

sharply contrary to the public interest.

       C.      Requested Relief

       For all the foregoing reasons, Plaintiffs request that this Court grant their Application for a

Temporary Injunction and preliminarily order Defendants and their agents, servants, employees

and all persons acting under, and in concert with, or for them to:

                         ■ Appoint any eligible VDR applicant who requests appointment either

                             in person or by mail pursuant to Texas Election Code Sections 13.032

                             and 13.033(a).

                         ■ Provide a copy of the VDR Examination to any eligible applicant who

                             appears in person having completed the Secretary of State’s online

                             training.

                         ■ Post a notice of the election that includes a complete list of election-

                             day polling locations to the Bexar County Election Departments’

                             website no later than October 13, 2020. If not all of the additional

                             locations ordered herein have been finalized by this date, include

                             language indicating that additional locations will be added no later

                             than October 20, 2020.



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                         ■ Operate a minimum of 311 Election Day polling locations on

                             November 3, 2020 from 7 a.m. to 7 p.m.

                         ■ Certify to this Court by October 20, 2020 that it has found the

                             additional locations and identify those locations to this Court.

                         ■ Certify to this Court beginning on October 20, 2020, and continuing

                             on a weekly basis thereafter, how many poll workers have been trained

                             and are available to work on Election Day.

                         ■ Certify by October 20, 2020 that it has sufficient voting equipment to

                             operate the previously identified list of locations, and that no polling

                             place will be supplied with fewer than 5 voting machines.

Plaintiffs are ready, willing, and able to post an appropriate bond.

                                               IV.
                                             PRAYER

       THEREFORE, Plaintiffs respectfully pray for the following permanent relief in addition

to the foregoing preliminary relief:

                         ■ Declaratory relief stating that the County’s plans to operate fewer than

                             302 Election Day polling locations will violate Texas Election Code

                             Section 43.007.

                         ■ Declaratory relief that the County is violating Section 13.032 of the

                             Election Code by failing to appoint any eligible volunteer deputy

                             registrar who seeks appointment in person or by mail.

                         ■ Declaratory relief that the County is violating Section 13.048(c) of the

                             Texas Election Code by failing to administer the volunteer deputy

                             registrar examination to applicants who complete online training.

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                          ■ Declaratory relief that the County is violating Section 4.003 of the

                             Texas Election Code by failing to post a notice containing each polling

                             place on the County website twenty-one days before Election Day.

                          ■ Injunctive relief ordering Defendant Callanen to appoint any eligible

                             applicant who requests appointment either in person or by mail

                             pursuant to Texas Election Code Sections 13.032 and 13.033(a).

                          ■ Injunctive relief ordering Defendant Callanen to provide a copy of the

                             Volunteer Deputy Registrar Examination to any eligible applicant

                             who appears in person having completed the Secretary of State’s

                             online training.

                          ■ Injunctive relief ordering Defendants to post a notice of the election

                             that includes a complete list of Election Day polling locations to the

                             Bexar County Election Departments’ website no later than October

                             13, 2020.

                          ■ Injunctive relief ordering Defendants to operate a minimum of 311

                             election-day polling locations on November 3, 2020 from 7 a.m. to 7

                             p.m.


Dated: October 6, 2020.                              Respectfully submitted,

                                                     By: /s/ Joaquin Gonzalez


                                                     Mimi Marziani
                                                     Texas Bar No. 24091906
                                                     mimi@texascivilrightsproject.org
                                                     Hani Mirza
                                                     Texas Bar No. 24083512
                                                     hani@texascivilrightsproject.org

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                                   Joaquin Gonzalez
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                                   ATTORNEYS FOR PLAINTIFFS




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                              CERTIFICATE OF SERVICE

      I hereby certify that on October 6, 2020, a true and correct copy of the foregoing Petition

and Application was served upon counsel for Defendants by email at lroberson@bexar.org, in

accordance with TEX.R.CIV.P. 21(a).

                                                                          /s/ Joaquin Gonzalez




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                       DECLARATION OF H. DREW GALLOWAY
                   (Texas Civil Practice and Remedies Code, Section 132.001)


My name is H. Drew Galloway and my date of birth is July 25, 1982. I am the Executive

Director of MOVE Texas Civic Fund and my address is 1023 North Pine Street, San Antonio,

Texas 78202. I declare under penalty of perjury that the facts stated in Paragraphs 3, 40-45, 74,

78 of the foregoing Petition and Application for Temporary Injunction are true and correct.



Executed in Bexar County, State of Texas, on 5th day of October, 2020.


                                                               ____________________________
                                                               H. Drew Galloway
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                        Ex. A
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                                                                  Registrars




   COVID-19 - As recommended precautions continue to increase for COVID-19, the James E. Rudder
   Building will be closed to visitors and customers beginning Wednesday, March 18, 2020. The Office of
    the Secretary of State is committed to continuing to provide services to ensure business and public
        filings remain available 24/7 through our online business service, SOSDirect or use the new
   SOSUpload. Thank you in advance for your patience during this difficult time. Information on Testing
                                            Sites is now available.

         Note - Navigational menus along with other non-content related elements have been removed for your convenience. Thank you for visiting us online.




Election Advisory No. 2018-31

 To:        County Election Officials
 From: Keith Ingram, Director of Elections                          Keith Ingram's signature
 Date: September 27, 2018

 RE:        Volunteer Deputy Registrars


As the general election approaches, you may be deputizing new Volunteer Deputy Registrars (“VDR”) or
have questions about current VDR’s. VDR’s are entrusted with the responsibility of distributing voter
registration application forms throughout the county and receiving registration applications back from voters
on behalf of the county. They are appointed by county voter registrars (“VR”) and charged with helping
increase voter registration in the state. Pursuant to 13.047 of the Texas Election Code, the Secretary of
State is responsible for adopting training standards, developing materials for the training, and distributing
the materials to the counties. This advisory outlines our current resources and provides answers to
frequently asked questions.

In addition to this Advisory, we have prescribed the following resources:

         Advisory 2012-04 (Directive) Training for Volunteer Deputy Registrars
         Volunteer Deputy Registrar Guide (Spanish)
         Volunteer Deputy Registrar Training (PDF) | Spanish (PDF)
         Request for Appointment as a Volunteer Deputy Registrar (PDF)
         Certificate of Appointment for Volunteer Deputy Registrar (PDF)
         Volunteer Deputy Examination (if needed)

Please note that the Volunteer Deputy Registrar Guide and the Volunteer Deputy Training are available in
Spanish. We have also prescribed an optional examination that is available in Spanish. County voter

https://www.sos.state.tx.us/elections//laws/advisory2018-31.shtml                                                                                            1/7
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registrars can obtain the answer key on our DocShare site or by emailing the Elections Division.

Optional Training Method
Senate Bill 142 (Regular Session, 2015), provides an optional training method for the appointment of
volunteer deputy registrars. Instead of holding in-person training sessions, a county MAY adopt a procedure
that allows a person to review the SOS online Volunteer Deputy Registrar training. Upon completing the
training, they must appear in person in the voter register’s office to take an examination. Upon satisfactory
completion of the examination, and completion of the Request of Appointment, the voter registrar must
appoint the person as a VDR. They will be issued a Certificate of Appointment. As this time, the county can
provide the newly appointed VDR of any county specific procedures. The voter registrar must advise the
newly appointed volunteer deputy registrar that the only requirements for voter registration are those
prescribed by state law or by the Secretary of State.

The examination is “open-book.” A potential VDR can use the training materials to assist them when
completing the examination. A potential VDR is required to answer at least 90% (18 of 20) of the
examination questions to successfully complete the application. The Election Code does not provide a limit
to the number of times a potential VDR can take the examination before passing.

The online training and examination procedure can be adopted by decision of the Voter Registrar. The VR
does not have to adopt the online training and examination procedure by order of the Commissioners Court,
but can if the VR chooses to do so.

Counties are not required to adopt the online training and examination, and can continue to conduct only in-
person training for VDRs without requiring an examination. Please note that if you do not schedule more
than one training per month or if that training you schedule is only offered during business hours, we
STRONGLY recommend that you adopt the optional on-line training method so as to allow more individuals
the opportunity to be appointed as a VDR in your county.

Minimum Training Standards
Advisory 2012-04 is our directive on training standards and it outlined the following requirements:

         The voter registrar must establish a schedule of times and places where such training for volunteer
         deputy registrars will be offered, if they have not adopted an optional training method prescribed
         by the SOS.
         The voter register may adopt their own examination that VDRs must complete at the end of their in-
         person training. If the VR adopts and examination, the SOS must approve the county exam
         (13.048(a)).
         The county training must include the Secretary of State prescribed power point.
         The county training may also include additional training materials provided by the county voter
         registrar.
         Voter Registrars must offer training at a minimum of one a month. However, the SOS strongly
         recommends that you offer more than one training per month and that you offer trainings outside of
         business hours. If you are unable do so, your office should consider adopting the optional on-line
         training method discussed above.

https://www.sos.state.tx.us/elections//laws/advisory2018-31.shtml                                              2/7
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         Volunteer deputy registrars must undergo the Secretary of State’s standards of training each time
         they receive a certificate of appointment that is in connection with each election cycle for which they
         are appointed that ends on December 31 of each even-numbered year.

Appointment of VDRs Trained in other Counties
If the volunteer deputy registrar has already been trained and appointed in another county during the
current election cycle, he/she does not have to undergo additional training nor complete another
examination. You may ask the previous registrar to confirm that the volunteer deputy registrar has
undergone such training. A county can continue to provide county-specific information to VDRs at the time
of certification, but cannot require that the VDR complete any additional examinations.

Volunteer Deputy Registrar Materials
The county Voter Registrar must distribute to each appointed volunteer deputy registrar the following
materials:

     1. The Texas Volunteer Deputy Registrar Guide,
     2. Plenty of voter registration applications containing the county return address,
     3. A certificate of appointment, and
     4. A receipt book.

VDRs may also print blank applications from the Secretary of State’s website or request blank applications
from the SOS directly.

NOTE: Some counties use VR applications with a perforated receipt that can be detached and given to the
voter. The SOS has approved a version of this application.

Frequently Asked Questions
     1. Does a VDR need to be a registered voter in the county they are wanting to become a VDR in?

         No, a VDR does not need to be a registered voter in the county where they are wanting to become a
         VDR or even a registered voter in Texas. The potential VDR only needs to be a resident of the State
         of Texas.

     2. What are the qualifications to become a VDR?

         A VDR must be:

                 be at least 18 years old;
                 be a United States citizen;
                 not have been determined by a final judgment of a court exercising probate jurisdiction to be
                    1. totally mentally incapacitated, or
                    2. partially mentally incapacitated without the right to vote;
                 never have been convicted of failing to deliver a voter application to a voter registrar;
                 not have been finally convicted of a felony, or, if convicted, must have

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                                                                  Registrars

                1. fully discharged the sentence, including any term of incarceration, parole, or supervision,
                   or completed a period of probation ordered by any court, or
                2. been pardoned or otherwise released from the resulting disability to vote;
            not have been finally convicted of identity theft under Section 32.51 of the Penal Code; and
            be a resident of the State of Texas.
     3. Does the county have to offer in-person VDR training?

         No, as a county, you do not have to have in-person training, if you adopt an optional online training
         method prescribed by the SOS.

     4. If the county has in-person training, can a potential VDR still do the online training prescribed
        by the SOS?

         Yes, a potential VDR could take the county in-person training or the online training prescribed by the
         SOS, if the county has adopted the optional online training in their county.

     5. Can a potential VDR request to take the SOS examination in our county if we have not adopted
        the examination?

         No. If a county has not adopted the SOS online training and examination procedure, a potential VDR
         will be required to attend the in-person training to become certified.

     6. Can we continue to provide county-specific information to VDRs?

         Yes. A VR can continue to provide county-specific information to VDRs at the time of certification,
         regardless if they choose to adopt the examination. In a county that has adopted the examination, a
         VDR who successfully completes the examination must also receive the county-specific information.

     7. When a potential VDR comes in person to take the examination does the VR have to give them
        the examination at that time?

         Yes, as a VR if a potential VDR comes in-person to take the examination, then you MUST give them
         the examination that day during the voter registrar’s regular business hours.

     8. How many times can a potential VDR take an examination if they fail?

         The code does NOT have a limit of times that a potential VDR can take an examination, therefore a
         person shall be allowed to take the exam more than once.

     9. Can I as a VR refuse to appoint a VDR?

         No, under Section 13.032 of the Texas Election Code, a VR may not refuse to appoint a VDR unless
         they do not meet the qualifications to become a VDR. (13.032)

   10. As a VR can I terminate a VDR’s appointment?

         Yes, please refer to Section 13.036 for a list of reasons why a VDR may be terminated. Please note
         that under 13.036, these are the only reasons a VDR can be terminated.

https://www.sos.state.tx.us/elections//laws/advisory2018-31.shtml                                                 4/7
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                                                                  Registrars

   11. What are the general powers of a VDR?

         A volunteer deputy registrar may distribute voter registration application forms throughout the county
         and receive registration applications submitted to the deputy in person. Please note that a VDR is
         limited to voter registration applications only. A VDR could not accept an application for ballot by mail
         or an FPCA, and deliver it to the early voting clerk.

   12. How many applications must a VR provide to a VDR?

         A VR should be generous in the number of blank applications they provide to a VDR. If a VR is
         concerned about cost, they can always request reimbursement for these costs with Chapter 19 funds,
         if they are available to the county.

   13. What does a VDR do with the receipt books?

         For each completed voter registration application, a VDR may fill out a receipt in duplicate and give
         each applicant the original receipt. The duplicate receipts must be delivered to the voter registrar
         along with the applications. A VDR may wish to keep copies or stubs for their records. The VDR
         should not keep copies of the completed voter registration applications because these
         documents contain information that is confidential by law. A VDR MUST deliver completed
         registration applications and receipts in person to the voter registrar no later than 5 p.m. on
         the 5th day after the date you receive them. (13.042(b)).

         NOTE: An application submitted after the 34th day before the date of an election and on or
         before the last day for a person to timely submit a registration application for that election
         shall be delivered not later than 5:00 pm of the next regular business day after the date to
         timely submit a registration application for that election. (13.042)(c)).

         Failure to deliver an application in a timely manner is a criminal offense
   14. How long does a VDR need to keep their receipt books?

         It is not addressed in the Code, but we would suggest that a VDR should retain the receipt books for
         22 months following the election closest to the effective date of the applications. Please inform the
         VDR to communicate with you as a VR, as you may have their own timeline of retaining the receipt
         books.

   15. I am a candidate and/or working for a campaign. May I serve as a volunteer deputy registrar?

         Yes. There is no prohibition against a candidate or a campaign worker serving as a deputy registrar,
         as long as they otherwise meet the “Qualifications” described above and have been officially
         appointed as a volunteer deputy registrar. Similarly, there is no prohibition against a volunteer deputy
         registrar registering voters at a campaign rally for a candidate or event. While working at rally or
         public event, a volunteer deputy registrar must offer registration to anyone who requests it. A VDR
         cannot refuse to accept an application if the voter does not want to vote for the candidate a VDR
         works for.


https://www.sos.state.tx.us/elections//laws/advisory2018-31.shtml                                                5/7
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   16. As a VDR, can they accept applications from a voter in another county?

         No. A Volunteer deputy registrar status is conferred on a county-by-county basis. For VDR’s to accept
         applications for Y or Z counties, a VDR would have to become a volunteer deputy registrar for those
         counties. A VDR could certainly give applications to the attendees from County Y and County Z and
         direct them to mail the application to the appropriate county voter registrar’s office. A person commits
         a Class C misdemeanor by acting as a volunteer deputy registrar when he or she does not have an
         effective appointment as a deputy registrar. (13.044).

   17. May a VDR assist and witness multiple applicants?

         Yes. A VDR may assist and witness multiple applicants. If an applicant cannot sign his/her name on
         the application, the applicant may make a mark on the signature line. VDRs should: (1) Print the
         name of the applicant beside the mark, and (2) sign their name and address as the witness as
         required by Section 1.011 of the Texas Election Code.

   18. Must a VDR submit applications in person to the VR’s Office?

         Yes. Applications must be submitted in person by the VDR or by personal delivery through another
         designated volunteer deputy registrar. The VDR should NOT mail the voter registration applications to
         the VR’s office.

   19. What if a voter submits an application that is not complete?

         The VDR should be reviewing the application for completeness in the presence of the voter before the
         VDR accepts and delivers the application to the VR. (13.039).

   20. What if I get an application from a VDR for another county?

         Assuming the VDR is a VDR in that county, you as a VR will forward the application to the correct
         county.

   21. When is the effective date of registration for an applicant submitting its application to a VDR?

         Assuming the individual is otherwise eligible to vote, the applicant’s registration will be effective 30
         days after the date of submission to the VDR.

   22. As a VR must I keep an active appointment file of a VDR?

         Yes. The registrar shall maintain a file containing the duplicate certificates of appointment of the
         volunteer deputy registrars whose appointments are effective. (b) The registrar shall maintain the file
         in alphabetical order by deputy name on a countywide basis. (c) Each certificate shall be retained on
         file during the time the appointment is effective.

   23. As a VR must I keep an inactive appointment file?

         Yes. The registrar shall maintain a file containing the duplicate certificates of appointment of the
         volunteer deputy registrars whose appointments have been terminated. (b) The registrar shall enter

https://www.sos.state.tx.us/elections//laws/advisory2018-31.shtml                                                   6/7
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         the date of and reason for termination on each duplicate certificate. (c) The registrar shall maintain the
         file in alphabetical order by deputy name on a countywide basis. (d) Each certificate shall be retained
         on file for two years after the date of termination.

All references are to the Texas Election Code (unless otherwise cited) available here:

Texas Constitution and Statutes

If you have any questions about the information in this advisory, please contact the Elections Division at 1-
800-252-VOTE(8683).

KI:CA:KR




https://www.sos.state.tx.us/elections//laws/advisory2018-31.shtml                                                7/7
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                               Joint General, Special, Charter and Bond Election November 6, 2018

Precinct Guest                                   *Location                                   Address

1001    /1003/1008/1010/1120/1126                San Antonio Housing Authority               818 S. Flores

1004    /1028/1097                               St. Leo Catholic Church (Hall)              4423 S. Flores

1005    /1074/1098/1119                          Burbank High School                         1002 Edwards St.

1006                                             St. James Catholic Church                   907 W. Theo Ave.

1007    /1014                                    Graebner Elementary School                  530 Hoover Ave.

1012    /1070                                    John Glenn Elementary School                2385 Horal Dr.

1013                                             Kelly Elementary School                     1026 Thompson Pl.

1018    /1011/1016/1017                          Adams Elementary School                     135 E. Southcross

1020    /1019                                    Wright Elementary School                    115 E. Huff Ave.

1021    /1127                                    Rayburn Elementary School                   635 Rayburn Dr.

1023    /1015/1022                               Collier Elementary School                   834 W. Southcross

1024    /1139                                    Pease Middle School                         201 Hunt Ln.

1026                                             Dwight Middle School                        2454 W. Southcross

1029    /1030/1031/1090/1096                     Brentwood Middle School                     1626 W. Thompson Pl.

1032                                             Gardendale Elementary School                1731 Dahlgreen Ave.

1034                                             Ralph Langley Elementary School             14185 Bella Vista

1036    /1033/1035/1095/1131/1132/1134/1135      Valley Hi Elementary School                 8503 Ray Ellison Blvd.

1037                                             Frank Madla Elementary School               6100 Royalgate Dr.

1038                                             Five Palms Elementary School                7138 Five Palms Dr.

1040    /1025                                    Miguel Carrillo, Jr. Elementary School      500 Price Ave.
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1042                                      Palo Alto Elementary School                 1725 Palo Alto Rd

1045   /1041                              South San Antonio High School               7535 Barlite Blvd.

1046   /1044                              Ramirez Community Center                    1011 Gillette Blvd.

1047                                      Vestal Elementary School                    1111 W. Vestal Pl.

1048                                      Gillette Elementary School                  625 Gillette Blvd.

1049   /1051/1052                         Precinct 1 Satellite Office                 3505 Pleasanton Rd.

1050   /1053                              Harlandale Community Center (Gym)           7227 Briar Pl

1054                                      Kingsborough Middle School                  422 Ashley Rd.

1055                                      Virginia Myers Elementary School            3031 Village Pkwy

1056   /1124                              Mission Del Lago Community Center           2301 Del Lago Pkwy

1060                                      Bob Hope Elementary School                  3022 Reforma Dr.

1061   /1039                              Sky Harbour Elementary School               5902 Fishers Bend

1064   /1146                              City of Von Ormy Municipality               14729 Quarter Horse Bldg. 1

1065   /1063/1123                         Somerset ISD Central Office                 7791 6th St.

1067   /1066                              Southwest ISD Admin Building                11914 Dragon Ln.

1068   /1128                              Luckey Ranch Elementary School              12045 Luckey River

1071   /1076                              Adams Hill Elementary School                9627 Adams Hill Dr.

1073                                      Ott Elementary School                       100 N Grosenbacher

1075   /1094/1133                         Alan Shepard Middle School                  5558 Ray Ellison Blvd.

1078   /1077                              Lowell Middle School                        919 Thompson Pl.

1079                                      Dr. Winn Murnin Elementary School           9019 Dugas

1080   /1138                              Hatchett Elementary School                  10700 Ingram Rd.

1081                                      Blue Skies of Texas West                    5100 John D. Ryan Blvd.
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1082   /1027                                    Big Country Elementary School               2250 Pue Rd.

1083   /1130                                    Lewis Elementary School                     1000 Seascape

1084                                            Mary Hull Elementary School                 7320 Remuda St.

1085   /1043                                    Westwood Terrace Elementary School          2315 Hackamore Lane

1086                                            Meadow Village Elementary School            1406 Meadow Way Dr.

1087                                            Henry A Guerra, Jr. Library                 7978 Military Drive W

1088                                            Perales Elementary School                   1507 Ceralvo St.

1091   /1089/1115/1117                          Mission Academy                             9210 South Presa

1092   /1059/1062/1105/1114                     Spicewood Park Elementary School            11303 Tilson Dr.

1093   /1069/1109/1113                          Vale Middle School                          2120 N. Ellison Dr

1099                                            Evers Elementary School                     1715 Richland Hills Dr.

1100   /1002/1009/1101                          Ed Cody Elementary School                   10403 Dugas Dr.

1102   /1057                                    Freedom Elementary School                   3845 S Loop 1604 E

1104   /1072                                    Carlos Coon Elementary School               3110 Timber View Dr.

1107   /1058                                    Southside ISD Admin Bldg (Board Room)       1460 Martinez-Losoya Rd.

1108                                            Galm Elementary School                      1454 Saxon Hill

1110                                            Mora Elementary School                      1520 American Lotus

1111                                            Raba Elementary School                      9740 Raba

1112   /1106/1136/1142                          Mary Michael Elementary School              3155 Quiet Plain

1118   /1125                                    Lieck Elementary School                     12600 Reid Ranch

1121                                            St. Anthony Claret Catholic Church          6150 Roft Rd.

1122                                            John Hoffmann Elementary School             12118 Volunteer Parkway

1129   /1103/1116/1145                          Cole Elementary School                      13185 Tillman Ridge
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1141   /1140                                    Bobbye Behlau Elementary School             2355 Camplight Way

1143   /1137                                    Mireles Elementary School                   12260 Rockwall Mill

1144                                            Hill Country Retreat                        4550 Del Webb Blvd.

2002   /2001/2033                               Lanier High School                          1514 W. Cesar E. Chavez Blvd

2003   /2034                                    Margil Elementary School                    1000 Perez St.

2007                                            Crockett Elementary School                  2215 Morales St.

2010   /2092/2150                               Shepherd King Lutheran Church               303 W. Ramsey Rd.

2011   /2017                                    Las Palmas Library                          515 Castroville Rd.

2013   /2005                                    Fenwick Elementary School                   1930 Waverly Ave.

2015   /2012/2089                               Gus Garcia Middle School                    3306 Ruiz St.

2018   /2117/2118                               Collins Garden Library                      200 N. Park Blvd.

2019   /2016                                    Edgewood Gym                                4133 Eldridge Ave.

2020                                            Wrenn Middle School                         627 S. Acme Rd.

2022   /2014/2074                               Memorial Branch Library                     3222 Culebra Rd.

2023   /2021                                    Huppertz Elementary School                  247 Bangor St.

2024                                            Woodlawn Hills Elementary School            110 W. Quill Dr.

2025                                            Longfellow Middle School                    1130 E. Sunshine Dr.

2026   /2081/2119/2142/2151/2157                Pat Neff Middle School                      5227 Evers Rd.

2028   /2027                                    Joe Ward Recreation Center                  435 E Sunshine Dr.

2029   /2030                                    Sarah King Elementary School                1001 Ceralvo St.

2031   /2032                                    Storm Elementary School                     435 Brady Blvd

2035   /2036                                    Laurel Heights United Methodist Church      227 W. Woodlawn Ave.

2038   /2137                                    San Pedro Church of Christ                  311 Jackson Keller Rd.
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2039   /2048/2067                         Huisache Avenue Baptist Church              1339 W. Huisache Ave.

2040                                      Villarreal Elementary School                2902 White Tail Dr

2041                                      Sul Ross Middle School                      3630 Callaghan Rd.

2042   /2128                              Esparza Elementary School                   5700 Hemphill Dr.

2043                                      Stafford Elementary School                  415 S.W. 36th St.

2044                                      Meadowcliff Recreation Center               1240 Pinn Rd.

2045                                      Woodlawn Academy                            1717 W. Magnolia Ave.

2046                                      Young Women's Leadership Academy            2123 W. Huisache Ave.

2049                                      Linton Elementary School                    2103 Oakhill Rd.

2050                                      Powell Elementary School                    6003 Thunder Dr.

2051   /2152                              Fox Tech High School                        637 N. Main Ave

2053   /2052                              Edison High School                          701 Santa Monica Dr.

2054                                      Kenwood Community Center                    305 Dora St.

2055   /2094                              Alamo Stadium Convocation Center            110 Tuleta Dr.

2057   /2056                              Westminster Square                          1838 Basse Rd.

2059   /2006                              Whittier Middle School                      2101 Edison Dr.

2060                                      Maverick Elementary School                  107 Raleigh Pl.

2061   /2143                              Leon Valley City Hall                       6400 El Verde Rd.

2063   /2154                              San Antonio M.U.D #1                        16450 Wildlake

2064   /2062/2110                         Dellview Elementary School                  7235 Dewhurst Rd.

2065   /2147                              Ward Elementary School                      8400 Cavern Hill

2066   /2099                              Scenic Hills Seventh-Day Adventist Church   11223 Bandera Rd.

2068   /2106                              Great Northwest Library                     9050 Wellwood
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2069                                           Community Alliance Traffic Safety (CATS)    7719 Pipers Lane

2070   /2071/2079                              Barkley-Ruiz Elementary School              1111 S. Navidad St.

2072                                           Brauchle Elementary School                  8555 Bowens Crossing

2073   /2080/2100                              West Avenue Elementary School               3915 West Ave.

2076   /2139                                   Nichols Elementary School                   9560 Braun Rd.

2077                                           Jimmy Elrod Elementary School               8885 Heath Circle Dr.

2078   /2098                                   Knowlton Elementary School                  9500 Timber Path

2082   /2114                                   Olmos Elementary School                     1103 Allena Dr.

2083   /2047                                   Jefferson High School                       723 Donaldson Ave.

2084   /2037                                   Maury Maverick, Jr. Library                 8700 Mystic Park

2085   /2058                                   Westfall Branch Library                     6111 Rosedale Ct.

2087   /2086/2133/2159                         Carson Elementary School                    8151 Old Tezel Rd.

2088                                           H. B. Zachry Middle School                  9410 Timber Path

2090   /2140                                   Timberhill Villa Retirement Center          5050 Timberhill

2091   /2153/2156                              Shepherd of the Hills Lutheran Church       6914 Wurzbach Rd.

2097                                           Burke Elementary School                     10111 Terra Oak

2101   /2095                                   Kuentz Elementary School                    12303 Leslie Rd.

2102                                           Fernandez Elementary School                 6845 Ridgebrook St.

2103   /2008                                   Cleto L. Rodriguez Elementary School        3626 W. Cesar Chavez Blvd.

2105   /2004/2075/2104                         Ogden Elementary School                     2215 Leal St.

2107   /2120                                   Fields Elementary School                    9570 FM 1560

2108                                           Coke Stevenson Middle School                8403 Tezel Rd.

2111   /2124/2134/2146                         Balcones Heights City Hall                  3300 Hillcrest Dr.
                           Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 54 of 84
2112   /2126                                          Leon Valley Elementary School            7111 Huebner Rd.

2115   /2158/2160/5555                                Dr. Pat Henderson Elementary School      14605 Kallison Bend

2123                                                  Northwest Church of Christ               9681 W. Loop 1604 N.
                                                                                               12280 Silver Pointe (at
2125   /2093                                          Scarborough Elementary School            Stillwater Pkwy)

2127                                                  Northwest Crossing Elementary School     10255 Dover Rdg.

2136                                                  Dean H. Krueger Elementary School        9900 Wildhorse Parkway

2138   /2109/2116/2121/2129/2131/2132/2135/2144/2155 Ridgeview Elementary School               8223 McCullough Ave.

2141   /2130/2145                                     Connally Middle School                   8661 Silent Sunrise

2148   /2009/2113                                     Mead Elementary School                   3803 Midhorizon Dr.

2149   /2096/2122                                     Health Careers High School               4646 Hamilton Wolfe Rd.

3001                                                  Las Lomas Elementary School              20303 Hardy Oak Blvd

3003   /3002/3139                                     John Marshall High School                8000 Lobo Ln.

3005                                                  Pieper Ranch Middle School               1106 Kinder Parkway

3007                                                  Roan Forest Elementary School            22710 Roan Park

3011   /3006/3111/3136/3166/3182                      Colonial Hills United Methodist Church   5247 Vance Jackson

3012   /3203                                          Dr. Sara McAndrew Elementary School      26615 Toutant Beauregard Rd.

3013   /3024/3167/3175                                Colonies North Elementary School         9915 Northampton

3015   /3140                                          Glenoaks Elementary School               5103 Newcome Dr.

3017   /3034/3097                                     Fair Oaks Ranch City Hall                7286 Dietz Elkhorn Rd.

3018                                                  Olmos Park City Hall                     120 El Prado Dr. W

3021   /3022/3177                                     Terrell Hills City Hall                  5100 N. New Braunfels

3023   /3054                                          Rudder Middle School                     6558 Horn Blvd.
                          Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 55 of 84
3025   /3026                                    Alamo Heights City Hall                     6116 Broadway St.

3027   /3156                                    Frontier Enterprises                        8520 Crownhill Blvd.

3028   /3084                                    Madison High School                         5005 Stahl Rd.

3033                                            Alzafar Shrine Auditorium                   901 N Loop 1604 W

3036   /3143                                    Carnahan Elementary School                  6839 Babcock

3037                                            Scobee Elementary School                    11223 Cedar Park

3039   /3123                                    M. H. Specht Elementary School              25815 Overlook Pkwy

3042   /3155                                    Lopez Middle School                         23103 Hardy Oak Blvd.

3047   /3048                                    Woodridge Elementary School                 100 Woodridge

3049                                            Northwood Elementary School                 519 Pike Rd.

3051   /3009/3126/3128                          Grey Forest Community Center                18249 Sherwood Trail

3052                                            Barbara Bush Middle School                  1500 Evans Rd.

3053   /3004/3046/3178                          Alamo Heights United Methodist Church       825 E. Basse

3055   /3194                                    Healing Place Church                        28703 IH 10 W

3056   /3010/3073                               Clark High School                           5150 De Zavala Rd.

3058   /3149/3195                               Ed Rawlinson Middle School                  14100 Vance Jackson

3059   /3181                                    Grace Bible Chapel                          18911 Redland Rd.

3060   /3050/3061                               Regency Place Elementary School             2635 MacArthur View

3062   /3079                                    Coker United Methodist Church               231 E North Loop Rd.

3064   /3014/3031/3063                          Harmony Hills Elementary School             10727 Memory Lane

3067   /3038/3041/3133/3171                     Castle Hills City Hall                      209 Lemonwood

3068   /3066                                    Larkspur Elementary School                  1802 Larkspur

3069   /3179                                    Adante Independent Living                   2702 Cembalo Blvd.
                          Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 56 of 84
3070   /3057/3115                               Hunters Creek Racquet Club                  3630 Hunters Circle St.

3071   /3135                                    Cody Library                                11441 Vance Jackson Rd.

3074                                            Woods of Shavano Community Club             13838 Parksite Woods St.

3075   /3176                                    Shavano Park City Hall                      900 Saddletree Ct.

3081   /3117                                    Brookhollow Library                         530 Heimer Rd.

3082   /3040/3120                               Wetmore Elementary School                   3250 Thousand Oaks

3083   /3085/3122/3138                          St. Mark's the Evangelist Catholic Church   1602 Thousand Oaks

3086   /3077                                    Oak Meadow Elementary School                2800 Hunters Green

3088                                            Bulverde Creek Elementary School            3839 Canyon Parkway

3089   /3148                                    Timberwood Park Elementary School           26715 S. Glenrose

3090   /3153                                    Thousand Oaks Elementary School             16080 Henderson Pass

3091                                            Hill Country Village City Hall              116 Aspen Lane

3092                                            Hollywood Park City Hall                    2 Mecca Dr.

3093                                            Vineyard Ranch Elementary School            16818 Huebner Rd.

3094   /3184                                    Leon Springs Elementary School              23881 IH 10 W

3095   /3098/3142                               Monroe S. May Elementary School             15707 Chase Hill Blvd.

3096                                            Cross Mountain Church                       24891 Boerne Stage Rd.

3099   /3101                                    Bob Beard Elementary School                 8725 Sonoma Parkway

3100                                            Steubing Ranch Elementary School            5100 Knoll Creek

3102   /3045                                    Hidden Forest Community Clubhouse           831 Sherman Oak

3104   /3154                                    Faith Lutheran Church                       14819 Jones Maltsberger Rd.

3105   /3087/3103/3170/3183                     Fox Run Elementary School                   6111 Fox Creek St.

3106   /3008/3158/3160/3169                     Helotes Elementary School                   13878 Riggs Rd.
                         Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 57 of 84
3107                                           Rhodes Elementary School                    5714 North Knoll

3108   /3157                                   Redland Oaks Elementary School              16650 Red Land Rd.

3110                                           Longs Creek Elementary School               15806 O'Connor Rd.

3113   /3112                                   William P. Hobby Middle School              11843 Vance Jackson

3114                                           Encino Park Community Center                1923 Encino Rio

3116   /3141                                   Oak Hills Terrace Elementary School         5710 Cary Grant Dr.

3119   /3030                                   Hartman Center II - Building One            1202 W. Bitters Bldg 1

3121                                           Hardy Oak Elementary School                 22900 Hardy Oak Blvd

3125                                           Tuscany Heights Elementary School           25001 Wilderness Oak

3134                                           Katherine Stinson Middle School             13200 Skyhawk Dr.

3137   /3124/3144                              Cibolo Green Elementary School              24315 Bulverde Green

3145                                           Hope Center Church                          4545 N. Loop 1604 E.

3146   /3029                                   First Chinese Baptist Church                5481 Prue Rd.

3147   /3032/3035                              Thornton Elementary School                  6450 Pembroke

3150   /3080/3131/3180                         Blossom Athletic Center                     12002 Jones Maltsberger Rd.

3151                                           Ellison Elementary School                   7132 Oak Dr.

3152   /3019/3065                              McDermott Elementary School                 5111 USAA Blvd.

3159   /3118                                   Church of Reconciliation-Episcopal          8900 Starcrest

3161   /3132                                   Churchill High School                       12049 Blanco Rd.

3162   /3016/3127                              Carl Wanke Elementary School                10419 Old Prue Rd.

3163                                           Stone Oak Elementary School                 21045 Crescent Oaks

3165                                           Tejeda Middle School                        2909 E. Evans Rd

3172   /3109                                   Murray E. Boone Elementary School           6614 Spring Time Dr
                          Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 58 of 84
3174   /3202                                      Aue Elementary School                        24750 Baywater Stage

3192   /3173                                      Parman Library                               20735 Wilderness Oak

3193   /3044/3076/3078                            Huebner Elementary School                    16311 Huebner Rd.

3196   /3130                                      Blattman Elementary School                   3300 North Loop 1604 W.

3197   3072                                       Tex Hill Middle School                       21314 Bulverde Rd.

3198   /3168/3185/3186/3187/3188/3189/3190/3191   Dr. Hector P. Garcia Middle School           14900 Kyle Seale Parkway

3199   /3043                                      Canyon Springs Golf Club                     24405 Wilderness Oak

3200   /3129                                      John Igo Library                             13330 Kyle Seale Parkway

3201   /3164                                      Indian Springs Elementary School             25751 Wilderness Oak

3205   /3020/3204/3206/3207/3208                  Lion's Field                                 2809 Broadway St.

4001   /4018/4203                                 San Antonio Central Library                  600 Soledad

4002   /4014/4075                                 Poe Middle School                            814 Aransas Ave

4003                                              Davis Scott YMCA                             1213 Iowa St.

4005   /4004/4006/4123                            Bowden Elementary School                     515 Willow St.

4010   /4009/4011                                 Young Men's Leadership Academy at Wheatley   415 Gabriel

4015                                              Beacon Hill Elementary School                1411 W. Ashby Pl.

4016   /4027                                      Japhet Elementary School                     314 Astor

4017                                              Travis Early College High School             1915 N. Main Ave.

4019   /4020                                      Foster Academy                               6718 Pecan Valley

4021   /4205                                      Clear Spring Elementary School               4311 Clear Spring

4023   /4200                                      Rogers Middle School                         314 Galway Dr.

4024                                              Kate Schenck Elementary School               101 Kate Schenck

4026                                              McCreless Library                            1023 Ada
                          Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 59 of 84
4028   /4013/4177                               James Bode Recreation Center                900 Rigsby

4029   /4012                                    Smith Elementary School                     823 S. Gevers

4032   /4025/4031                               Highland Hills Elementary School            734 Glamis Ave.

4033   /4062/4133/4204                          Pecan Valley Elementary School              3966 E. Southcross

4036   /4034                                    Hirsch Elementary School                    4826 Seabreeze Dr.

4038   /4035/4091/4125/4147                     Mount Calvary Lutheran Church               308 Mount Calvary Dr.

4039   /4030/4037/4141                          M. L. King Academy                          3501 Martin Luther King

4040   /4111                                    Cameron Elementary School                   3635 Belgium Lane

4041   /4113                                    Davis Middle School                         4702 E. Houston St.

4044   /4007/4112/4120/4139                     Wilshire Elementary School                  6523 Cascade Pl.

4045   /4135                                    E. Terrell Hills Elementary School          4415 Bloomdale

4046   /4117/4210                               Tobin Library @ Oakwell                     4134 Harry Wurzbach

4047   /4102/4175/4181                          Krueger Middle School                       438 Lanark Dr.

4048                                            Riverside Park Elementary School            202 School St.

4049   /4154                                    Ed White Middle School                      7800 Midcrown Dr.

4051   /4050/4107/4192/4195                     Windcrest Takas Park                        9310 Jim Seal Dr.

4052   /4022/4115/4131/4134/4149/4206           Royal Ridge Elementary School               5933 Royal Ridge Dr.

4055   /4054/4185                               Crestview Elementary School                 7710 Narrow Pass

4056   /4100/4158                               Ed Franz Elementary School                  12301 Welcome Dr.

4059   /4130/4162/4201                          Rosewood Rehabilitation & Care Center       7700 Mesquite Pass

4060   /4061/4152                               Montgomery Elementary School                7047 Montgomery Dr.

4064   /4042/4080/4145/4146/4182                Kirby City Hall                             112 Bauman St.

4066   /4156                                    Woodlake Elementary School                  5501 Lake Bend East
                          Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 60 of 84
4067   /4114/4191/4196/4197                           Converse City Hall Conference Room #1   405 South Seguin

4069   /4085/4101/4159                                China Grove City Hall                   2412 FM 1516 S.

4071   /4118/4136/4137/4151                           St. Hedwig City Hall                    13065 FM - 1346

4072   /4078/4121/4209                                East Central High School                7173 FM 1628

4073   /4086/4153/4202                                Harmony Elementary School               10625 Green Lake Dr.

4074   /4129/4165/4180                                Elmendorf City Hall                     8304 FM 327

4076   /4063/4106/4142/4166                           Park Village Elementary School          5855 Midcrown

4077   /4070/4103/4207/4208/4212                      Schaefer Library                        6322 US Hwy. 87 E.

4079   /4194                                          Coronado Village Elementary School      213 Amistad Blvd

4082   /4084/4127/4167                                Sam Houston High School                 4635 E. Houston

4088   /4163                                          Spring Meadows Elementary School        7135 Elm Trail Dr.

4089                                                  Kitty Hawk Middle School                840 Old Cimarron Trl.

4090   /4053/4092                                     Miller's Point Elementary School        7027 Misty Ridge

4095   /4094                                          El Dorado Elementary School             12634 El Sendero

4096   /4099                                          Thousand Oaks El Sendero Library        4618 Thousand Oaks

4098   /4104/4138/4140/4199                           John H. Wood Jr. Middle School          14800 Judson Rd.

4108   /4093/4148                                     Woodstone Elementary School             5602 Fountainwood
       /4008/4119/4122/4128/4178/4183/4184/4186/421
4110   1                                              Lamar Elementary School                 201 Parland

4124                                                  Ball Academy                            343 Koehler Court

4126   /4087                                          Ray D Corbett Jr High School(SCUC)      12000 Ray Corbett Dr

4132   /4043/4083/4187                                Judson Middle School                    9695 Schaefer Rd.

4143   /4068/4109/4189/4190/4193                      Metzger Middle School                   7475 Binz-Engleman Rd.

4144   /4057/4058/4081/4188                           Universal City Hall                     2150 Universal City Blvd
                            Case 5:20-cv-01189-FB Document 1-1 Filed 10/06/20 Page 61 of 84
4155     /4157                                    Cotton Elementary School                    1616 Blanco Rd.

4160                                              Candlewood Elementary School                3635 Candleglen

4161     /4065                                    Paschall Elementary School                  6351 Lake View Dr.

4164     /4097/4105/4116                          Olympia Elementary School                   8439 Athenian

4171     /4169/4170/4173/4174/4176                Northern Hills Elementary School            13901 Higgins Rd.

4179     /4172                                    Stahl Elementary School                     5222 Stahl Rd.

4198     /4150/4168/                              Elolf Elementary School                     6335 Beech Trail Dr.

*Subject to Change
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NOTICE OF ELECTION
COUNTY OF BEXAR

July 14, 2020

THE STATE OF TEXAS}
COUNTY OF BEXAR}


TO ALL THE QUALIFIED, REGISTERED VOTERS OF THE COUNTY OF BEXAR, TEXAS:

Take notice that the County of Bexar will conduct a Joint Primary Runoff Election for the Republican Party and
the Democratic Party of Bexar County for each to nominate federal officers, Members of the State Legislature,
state, district, county and precinct officers on Tuesday, July 14, 2020.

Visit www.bexar.org/elections for a complete list of the candidates you are eligible to vote for based on your
Party and precinct.

The Vote Centers available for voting on election day, Tuesday, July 14, 2020 from 7:00 A.M. to 7:00 P.M. will
be the same as those used by Bexar County, as published on July 12, 2020. Vote Centers will be able to accept
any registered voter from either Party at any one of the sites.

Early voting by personal appearance will also be conducted at locations, dates and times as listed in the
attachment.

Applications to vote by mail may be requested from the Bexar County Elections Administrator, Jacquelyn F.
Callanen at 210-335- (VOTE) 8683 or by mail at the address listed below:

Jacquelyn F. Callanen
Bexar County Elections Administrator
1103 S. Frio, Ste. 100
San Antonio, TX 78207

Applications for ballot by mail must be received no later than 5:00 P.M. on Thursday, July 2, 2020.
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                         Ex. F
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                                 Office of Commissioner
                                    Justin Rodriguez
                                   101 W. Nueva, Suite 1032
                                   San Antonio, Texas 78205

FOR IMMEDIATE RELEASE:                                             Contact: Francesca Caballero
July 25, 2019                                                               210.335.2612/o
                                                                            210.629.1528/m

       Commissioner Justin Rodriguez Calls for More Voting Machines and
                       Enhanced Community Outreach

Today, Precinct 2 Commissioner Justin Rodriguez submitted a request to Elections
Administrator, Jacque Callanen, to bring forward an amended item to Commissioners Court
that enables Bexar County to lease additional election voting machines in order to maintain the
same level of access to polling locations for voters all across Bexar County in the transition to
the Countywide Vote Center Model.

Since the Commissioners Court took action to approve the purchase of new voting machines,
the Precinct 2 office has fielded a number of inquiries related to the County’s implementation
of Countywide Voting Centers for Election Day beginning as early as November 2019.

“While the voting center concept has been overwhelmingly embraced by those I’ve spoken
with, there have been a multitude of concerns raised about the recommended strategy of
reducing the number of voting sites to accomplish this goal.”

In planning community outreach efforts, Commissioner Rodriguez revisited the Secretary of
State’s guidelines on the Countywide Polling Place Program and determined that there is no
actual requirement for the reduction of polling sites as part of the implementation.

“I have learned that none of the large Texas counties that have implemented voting centers
have in fact reduced their respective number of locations. Most have taken the approach of
staying the course - keeping level or even increasing in some cases - the number of sites at least
through the 2020 election cycle.”

In addition, Commissioner Rodriguez has also asked to allocate funding to support a robust
outreach and education campaign to raise awareness about the new voting equipment and to
ensure voters are well prepared to cast their ballot using the new machines this November.

Commissioner Rodriguez will continue to work with the community and his colleagues on
Commissioners Court to advance policies and programs to improve voter access, education, and
participation.
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                         Ex. I
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                                                                                          Oficina Legal del Pueblo Unido, Inc.
                                                                                          1410 Guadalupe Street
                                                                                          San Antonio, TX 78207
                                                                                          210.663.6727(p)
                                                                                          texascivilrightsproject.org


September 10, 2020
Jacque Callanen
Bexar County Elections Administrator
1103 S. Frio
San Antonio, TX 78207
jcallanen@bexar.org
Dear Ms. Callanen,
        We are writing regarding Bexar County’s violation of the Texas Election Code in the July
2020 election and apparent pending violation based on publicly available information. We write
with urgency given that the 2020 general election day is less than 60 days away and coming into
compliance requires locating additional polling places as well as possibly acquiring more
equipment and staff than presently planned. With this in mind, please confirm in writing that, per
the legal requirements explained below, Bexar County will operate a minimum of 311 vote centers
(or provide updated registration numbers showing why a lower number may be acceptable) on
election day and comply with all legal notice requirements. If we do not hear from you by
September 18, 2020, we intend to take whatever action is necessary to safeguard the rights of
Bexar County registered voters.
      First, Bexar County failed to comply with the notice provisions of the Texas Election Code
(“TEC”) for the July 14, 2020 runoff election. TEC Section 4.003 requires that:
        In addition to any other notice given for an election . . . , not later than the 21st day
        before election day, a county shall post a copy of a notice of the election given by
        the county or provided to the county under Section 4.008(a), which must include
        the location of each polling place, on the county's Internet website, if the county
        maintains a website.
The notice that was posted on Bexar County’s website merely referred to a list of locations that
would be made public on July 12, 2020, two days before election day. Such a notice is legally and
practically deficient. The purpose of providing notice is so that the public can be aware of the
locations and plan accordingly. This is particularly critical in a county that uses countywide vote
centers, as individuals’ traditional neighborhood locations may have changed. A “check back
later” posting does not comply with the law or its purpose. Further, because of the inadequate
notice, the county could not comply with notice or other legal requirements when it announced at
the last minute that it would be closing locations due to inadequate staffing and COVID-19
concerns. Although it was reported that 3 locations had to be closed, 1 comparison with a prior list
of proposed locations indicates that a total of 12 planned locations were ultimately not operated.



1
  Jakob Rodriguez, Three Bexar County Voting Centers Close Prior to July 14 Primary Runoff Election, KSAT.com
(July 13, 2020) https://www.ksat.com/news/local/2020/07/14/three-bexar-county-voting-centers-close-prior-to-july-
14-primary-runoff-election.


                                                        1
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                                                                                           Oficina Legal del Pueblo Unido, Inc.
                                                                                           1410 Guadalupe Street
                                                                                           San Antonio, TX 78207
                                                                                           210.663.6727(p)
                                                                                           texascivilrightsproject.org


       Second, the number of election day vote centers your office appears to be planning to
operate will be legally deficient. Based on a preliminary list, the Elections Department appears to
be proposing 273 vote centers on election day. As described below, this falls short of the legally
required approximately 311 vote centers that Bexar County should be providing. Although the
department alluded to potentially adding “a few” locations at a recent Commissioners Court
meeting,2 there was no indication that it in any way intended to add the approximately 38 locations
required by the Election Code.
        As you know, Bexar County uses countywide polling, which enables voters to cast their
ballot at any polling place irrespective of the election precinct in which they reside. The county is
permitted to use this system pursuant to TEC Section 43.007. Section 43.007, however, requires
that “[t]he total number of countywide polling places may not be less than . . . 50 percent of the
number of precinct polling places that would otherwise be located in the county for that election.”
Tex. Elec. Code § 43.007(f).
        The starting point for determining how many polling places the county would “otherwise”
be legally required to provide is section 43.001 of the Code, which mandates that “[e]ach election
precinct established for an election shall be served by a single polling place located within the
boundary of the precinct.” Bexar County currently has 765 election precincts. However, election
precincts are generally supposed to “contain at least 100 but not more than 5,000 registered voters.”
Tex. Elec. Code § 42.006(a). Although no provision explicitly sanctions doing so, we believe the
county could justifiably subtract the number of precincts with fewer than 100 registered voters
from the applicable total number of election precincts. This would leave Bexar County with 621
election precincts with more than 100 registered voters (as of July 2020). To operate the legally
required number of vote centers under TEC Section 43.007(f), Bexar County would therefore
have to operate 50% of 621 locations. This comes to 310.5, which number must then be rounded
up to 311 vote centers because you cannot provide a fraction of a vote center and because
rounding down to 310 vote centers would fail to satisfy the 50 percent requirement.
       Note that 50 percent is the bare minimum required by law, but ideally, particularly during
a global pandemic, counties should be attempting to minimize polling place consolidation for the
sake of voters.3 Dallas County for instance, with a similar number of registered voters and
countywide polling, plans to operate over 400 vote centers on top of nearly 60 early voting sites.
        The TEC does provide that when “changes in county election precinct boundaries to give
effect to a redistricting plan result in county election precincts with a number of registered voters
less than [750], . . . a commissioners court for a general . . . election” may combine those smaller
precincts with larger neighboring precincts in order to avoid unreasonable expenditures. Tex. Elec.
Code § 42.0051. Even assuming this provision applies in a county with countywide polling places
seven years after redistricting, which is debatable, the TEC makes it clear that “a commissioners

2
  Video archive of Sep. 1, 2020 Bexar County Commissioners Court meeting, available at
https://bexarcountytx.swagit.com/play/09012020-1843.
3
  See, e.g., Voting Rights Lab, Polling Place Consolidation: Negative Impacts on Turnout and Equity, available at
https://www.votingrightslab.org/polling-place-consolidation-report.


                                                         2
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                                                                                             Oficina Legal del Pueblo Unido, Inc.
                                                                                             1410 Guadalupe Street
                                                                                             San Antonio, TX 78207
                                                                                             210.663.6727(p)
                                                                                             texascivilrightsproject.org


court” must actually combine the precincts for each individual election. No such combinations
have been made by the Bexar County Commissioners Court for the Nov. 2020 General Election.
Further, any combinations would need to combine neighboring precincts such that no more than
5,000 registered voters are combined together in one location, id. § 42.0051(c)),4 and that it does
not “result[] in discouraging participation by a group covered by the Voting Rights Act in any
political or electoral process . . . because of the location of a polling place or other factors.” Id. §
42.0051(d)(3). This means that any combinations cannot have a disparate impact on an ethnic,
racial, or language group minority. It should be noted that the majority of polling place closures in
the July runoff election were in areas predominantly composed of persons of color, including three
closures in the low-income, heavily Latinx 78207 zip code alone. Concentrations of polling place
closures in communities of color raise serious concerns under the Voting Rights Act, and the
County needs to keep in mind the Act’s requirements in its initial allocation of polling places and
any subsequent changes, ensuring there is no disparate impact on voters of color.
        But again, this is moot because the Bexar County Commissioners Court has not combined
any precincts for this general election. The correct baseline for calculating the required number of
locations is thus the previously discussed 621 election precincts, for which the county is required
to provide at least a bare minimum of 50% coverage pursuant to the countywide polling program.
The data used to perform this analysis came from the Bexar County Election Department’s website
posting of July 2020 runoff election results. We recognize that the underlying data may have
changed since July, and the data used does not distinguish between suspense list and active
registrations. Therefore, it is possible that the 311 number may be slightly revisable up or down;
however, it is exceedingly unlikely that the number would be below 300 vote centers.
        As noted, your office closed several vote centers with inadequate notice during the July
2020 runoff election. To ensure that the legally required number of vote centers are not just planned
on paper, but are in fact operated, it will presumably be necessary to recruit far more poll workers
than currently planned, and potentially acquire additional voting equipment. Therefore, it is urgent
that your office officially clarify that it will operate the required number of vote centers as soon as
possible. Please respond by September 18, 2020 by email to joaquin@texascivilrightsproject.org.
Sincerely,
Joaquin Gonzalez
Staff Attorney
Texas Civil Rights Project

cc: County Judge Nelson Wolff; County Commissioner Sergio “Chico” Rodriguez; County
Commissioner Justin Rodriguez; County Commissioner Kevin Wolff; County Commissioner
Tommy Calvert; District Attorney Joe Gonzales

4
  The preliminary proposed list of 273 locations would have “combined” precincts in such a way that over 78 vote
centers would have more than 5,000 registered voters assigned to them, with some, such as Kingsborough Middle
School, having over 10,000 voters assigned, though it is unclear what it even means to combine precincts under a
vote center model. On top of any legal ramifications, consolidating that many voters in one area would likely lead to
long lines and social distancing complications.


                                                          3
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                             BEXAR COUNTY ELECTIONS DEPARTMENT

                                          Jacquelyn F. Callanen
                                      ELECTIONS ADMINISTRATOR

                                                                                    Date: September 17, 2020
Joaquin Gonzalez
Staff Attorney
Texas Civil Rights Project
1410 Guadalupe Street
San Antonio, TX 78207

Mr. Gonzalez,

I am writing in response of your September 10, 2020 letter claiming a violation of the Texas Election Code in
the July 2020 election and the pending November election.

We have had permission to post the election day sites as we have by referencing the date they will be published.
 As our experience tells us – when we publish the election day sites before the close of early voting – the voters
get confused and go to the election day sites to early vote. This became extremely concerning for our school
district partners that host us, following the tragedy at Sandy Hook. All of the election day sites are available on
our website (www. Bexar.org/elections) in compliance with the TEC. All voters may enter their address and get
their individual sample ballot as required by law and their polling location. Our Joint Notice will be published
on Sunday, October 11, 2020.

As to the Vote Centers of Bexar County. We must first correct your stated number of precincts in Bexar
County. We have 734 precincts. We are compliant with Section 43.007 of the Texas Election Code. Bexar
County currently has 734 total county election precincts not the 765 you cited. Of our 734 county election
precincts, we have 224 that have a population of less than 750 registered voters. Per 42.0051(a) and (b), county
election precincts that have a population of less than 750 registered voters can be combined to avoid
unreasonable expenditures for election equipment, supplies, and personnel in a county our size. If all of those
224 precincts are combined, we are left with a total of 510 required county election precincts not election
polling locations. Under 43.007, we are required to use 50 percent of the number of precinct polling places that
would otherwise be located in the county for that election. This means we are required to have a minimum of
255 county election polling places for the November 3, 2020 election. We currently have 284 vote centers, and
therefore we are providing more than the minimum required number of polling locations for this election.

The 5,000 registered voters assigned to a poll site does not apply to counties that have successfully achieved
vote center status.

We are looking forward to a very successful November election and will build on our success of keeping both
our treasured election officials and voters safe during this pandemic.

Sincerely,
Jacquelyn Callanen
Bexar County Elections Administrator



1103 S. Frio, Suite 100, San Antonio, TX 78207         Tel: (210) 335-VOTE (8683)/Fax: (210) 335-0371
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            2020 All voters 2020 Hispanic Voters in Precincts with < 750 voters 2020 AA Voters in Precincts with < 750 voters 2018 All Voters 2018 Hispanic Voters with < 750 voters2018 African American Voters with < 750 voters
count             1141678                                                  23966                                         1746        1128872                                24267                                              1759
mean            0.9834878                                               1.195524                                    1.216831       0.8631101                             1.088594                                          1.083578
std              1.204799                                               1.144734                                    0.809593       0.9672712                             1.123335                                          0.717663
min           0.002499751                                               0.016165                                    0.089124    0.009594568                              0.027571                                          0.089284
        25%     0.3979214                                               0.476447                                    0.577918       0.3814458                             0.397092                                           0.54711
        50%     0.6624101                                               0.850127                                    1.084436       0.6257321                             0.760941                                          1.071432
        75%      1.082412                                               1.410283                                    1.739006       0.9957836                             1.307049                                           1.35335
max              27.54947                                              22.048076                                     5.43058        28.04008                           22.215874                                           5.576284
